Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 1 of 115 PageID #:4259




                   EXHIBIT A
  GOVERNMENT
    EXHIBIT
         1
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 2 of 115 PageID #:4260                                                                #1
Case: 1:18-cr-00035
                                                                                September 04, 2008 − 35.240 secs − Gold
             Sell Side: Vorley
817.60
                                                                                                                               Buy order placed 34.125 seconds after sell order
                                                                                                                               First sell order fill 0.028 seconds after buy order placed
                                                                                                                               Buy order canceled 0.639 seconds after last sell order fill




817.50
               [1]
                 (Iceberg) order to sell
               20 contracts ($1,634,800)
                                                                                                                                                                [3]
                                                                                                                                                                  Sells all 20 contracts
                                                                                                                                                                while buy order active


                  V (20)
817.40




817.30
                                                                                                                                                                                    V 100




817.20
                                                                                                                         [2]
                                                                                                                           Order to buy 100 contracts ($8,173,000)         [4]
                                                                                                                                                                             Cancels all 100
                                                                                                                         Active for 1.116 seconds                          buy contracts




817.10
             Buy Side: Vorley


         03:52:40.0                  03:52:45.0             03:52:50.0              03:52:55.0        03:53:00.0               03:53:05.0               03:53:10.0               03:53:15.0

              ●       Places Order         Modifies Order   ●   Cancels Order         Buys Contract   Sells Contract   (Iceberg Order)              Mid−Price              Bid−Offer Spread
                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 3 of 115 PageID #:4261                                                             #1a
                                                                    September 04, 2008 − 1.820 mins − Gold
         Sell Side: Vorley
817.60




817.50




              V (20)
817.40




817.30
                                                            V 100




817.20




817.10
         Buy Side: Vorley


         03:52:40.0                03:53:00.0                       03:53:20.0               03:53:40.0                         03:54:00.0               03:54:20.0

          ●     Places Order   Modifies Order   ●   Cancels Order            Buys Contract   Sells Contract   (Iceberg Order)                Mid−Price       Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 4 of 115 PageID #:4262                                                                              #2
                                                                                October 10, 2008 − 39.560 secs − Silver
         Sell Side: Vorley
11.830                                                                                                                                                 [3] Order to sell 50 contracts ($2,953,750)

                                                                                                                                                       Active for 1.023 seconds

                                                                                                                                                                     [5] Cancels   all 50 sell contracts

11.825




11.820




                                                                                                                                                                                                 V 50
11.815

                                                                                                                       Sell order placed 38.534 seconds after buy order
                                                                                                                       After sell order placed, 0.021 seconds until next buy order fill
                                                                                                                       Sell order canceled 0.985 seconds after last buy order fill

11.810
             V (12)



                                                              [2]                                                                                 [4] Buys   final 8 contracts while sell order active
11.805
                    [1]   (Iceberg) order to buy                    Buys 4 contracts
                    12 contracts ($708,600)




11.800




11.795
         Buy Side: Vorley


              06:13:30.0                                      06:13:40.0                               06:13:50.0                                    06:14:00.0                                          06:14:10.0

         ●     Places Order              Modifies Order   ●     Cancels Order          Buys Contract      Sells Contract       (Iceberg Order)               Mid−Price                Bid−Offer Spread
                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 5 of 115 PageID #:4263                                                          #2a
                                                                   October 10, 2008 − 1.090 mins − Silver
         Sell Side: Vorley
11.830




11.825




11.820




                                                                                                             V 50
11.815




11.810
             V (12)




11.805




11.800
         Buy Side: Vorley


             06:13:30.0         06:13:40.0               06:13:50.0                06:14:00.0                    06:14:10.0            06:14:20.0       06:14:30.0

         ●     Places Order   Modifies Order   ●   Cancels Order        Buys Contract           Sells Contract       (Iceberg Order)        Mid−Price    Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 6 of 115 PageID #:4264                                                                                        #3
                                                                                         October 31, 2008 − 13.300 secs − Gold
         Sell Side: Vorley
728.60

                                                                                                                                         Buy order placed 3.514 seconds after sell order
                                                                                                                                         After buy order placed, 0.016 seconds until next sell order fill
                                                                                                                                         Buy order canceled 1.432 seconds after last sell order fill


728.50




728.40




728.30             [1] (Iceberg)   order to sell 50 contracts ($3,641,000)



                                                          [2] Sells   17 contracts                                                                         [4] Sells   6 contracts while buy order active
             V (50)
728.20




728.10
                                                                                                             [3] Order                                               V 100
                                                                                                                      to buy 100 contracts ($7,281,000)
                                                                                                             Active for 1.016 seconds
                                                                                                                                                            [5]
                                                                                                                                                              2 buy contracts filled
                                                                                                                                                            Order canceled 0.220 seconds after fill
728.00                                                                                                                                                            [6] Cancels   98.0% of buy contracts (98 of 100)
         Buy Side: Vorley


                        05:14:37.0                                       05:14:38.0                           05:14:39.0                                05:14:40.0                                 05:14:41.0

         ●     Places Order              Modifies Order           ●      Cancels Order       Buys Contract           Sells Contract   (Iceberg Order)                   Mid−Price               Bid−Offer Spread
                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 7 of 115 PageID #:4265                                                                           #3a
                                                                            October 31, 2008 − 1.830 mins − Gold
         Sell Side: Vorley
728.60




728.50




728.40
                                                                                                                                                                     [8] Sells
                                                                                                                                                                            final
                                                                                                                                                                     27 contracts
728.30



             V (50)                                                                                                                                                V 27
728.20




728.10
                   V 100


728.00




727.90




727.80
                                                                 [7]Sells   2 contracts after 2 buy contracts filled

                                                 V2
727.70




727.60
         Buy Side: Vorley


                05:14:40.0                 05:15:00.0                          05:15:20.0                        05:15:40.0                     05:16:00.0                 05:16:20.0

         ●     Places Order   Modifies Order      ●     Cancels Order              Buys Contract         Sells Contract       (Iceberg Order)          Mid−Price          Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 8 of 115 PageID #:4266                                                                             #4
                                                                                November 10, 2008 − 18.140 mins − Gold
         Sell Side: Vorley
751.60



751.50



751.40



751.30

                                                                                                                         Sell order placed 989.268 seconds after buy order
                                                                                                                         After sell order placed, 0.018 seconds until next buy order fill
751.20



751.10

                                                                                                                                           [3] Orderto sell 100 contracts ($7,506,000)
751.00                                                                                                                                     Active for 1.200 seconds

                                                                                                                                                       [5] Cancels   all 100 sell contracts
750.90



750.80



750.70

                                                                                                                                                                                     V 100
750.60



750.50
             C (50)

750.40     [1] (Iceberg)      order to buy 50 contracts ($3,752,500)
                                                                                                                                [2] Buys   41 contracts

                                                                                                                     [4] Buys7 contracts while sell order active
750.30                                                                                                               Buys final 2 contracts 0.014 seconds after sell order canceled
         Buy Side: Chanu


                              04:46:40.0                    04:50:00.0                     04:53:20.0                      04:56:40.0                           05:00:00.0                           05:03:20.0

         ●     Places Order                Modifies Order   ●   Cancels Order        Buys Contract      Sells Contract          (Iceberg Order)               Mid−Price                 Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 9 of 115 PageID #:4267                                                                                  #5
                                                                                November 25, 2008 − 21.830 secs − Silver
         Sell Side: Vorley
10.325




10.320




10.315




10.310




10.305

                                                                                                                             Buy order placed 20.817 seconds after sell order
                                                                                                                             After buy order placed, 0.017 seconds until next sell order fill
10.300                                                                                                                       Buy order canceled 0.986 seconds after last sell order fill

                   [1] (Iceberg)
                               order to sell
                   14 contracts ($720,300)
10.295
                                                                                                                                                                   [4] Sells
                                                                                                                                                                          final 12 contracts
                                                                                                                                 [2] Sells   2 contracts           while buy order active

             V (14)
10.290




10.285
                                                                                                                                                                                                V 50
                                                                                                                                             [3] Orderto buy 50 contracts ($2,571,250)     [5] Cancels
                                                                                                                                                                                                     all 50
                                                                                                                                             Active for 1.008 seconds                      buy contracts
10.280
         Buy Side: Vorley


          04:51:20.0                                   04:51:25.0                              04:51:30.0                                     04:51:35.0                           04:51:40.0

         ●     Places Order           Modifies Order        ●   Cancels Order         Buys Contract         Sells Contract         (Iceberg Order)               Mid−Price               Bid−Offer Spread
                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 10 of 115 PageID #:4268                                                          #5a
                                                                    November 25, 2008 − 40.000 secs − Silver
         Sell Side: Vorley
10.330




10.325




10.320




10.315




10.310




10.305




10.300




10.295



             V (14)
10.290




10.285
                                                                                               V 50


10.280
         Buy Side: Vorley


          04:51:20.0                           04:51:30.0                                 04:51:40.0                                04:51:50.0                         04:52:00.0

         ●     Places Order   Modifies Order    ●   Cancels Order         Buys Contract          Sells Contract   (Iceberg Order)            Mid−Price   Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 11 of 115 PageID #:4269                                                                                 #6
                                                                          January 06, 2009 − 4.650 secs − Gold
         Sell Side: Vorley
844.80



                 [1]
                   (Iceberg) order to sell
                 10 contracts ($844,700)


                                                                                                [2]   Sells 2 contracts
                                                                                                                                               [4]   Sells 3 contracts while buy order active
             V (10)
844.70




844.60
                                                                                                                                                      V 100
                                                                                                                                                            [5]
                                                                                                                                                              1 contract filled
                                                                                               [3] Orderto buy 100 contracts ($8,446,000)
                                                                                                                                                            Order canceled 0.558 seconds after fill
                                                                                               Active for 0.724 seconds
                                                                                                                                                                              [6] Cancels99.0% of buy
                                                                                                                                                                              contracts (99 of 100)



844.50




                                                                                                                                   Buy order placed 3.388 seconds after sell order
                                                                                                                                   After buy order placed, 0.464 seconds until next sell order fill


844.40
         Buy Side: Vorley


                       04:01:53.0                     04:01:54.0                              04:01:55.0                               04:01:56.0                                  04:01:57.0

         ●     Places Order          Modifies Order   ●   Cancels Order       Buys Contract                 Sells Contract   (Iceberg Order)                      Mid−Price            Bid−Offer Spread
                                        Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 12 of 115 PageID #:4270                                                             #6a
                                                                           January 06, 2009 − 1.730 mins − Gold
         Sell Side: Vorley
845.10


                                                                                                                                                   [8]
                                                                                                                                                     Sells 1 contract after 1
845.00                                                                                                                                             buy contract filled




844.90



                                                                                                                                                                                      V1
844.80

                                                                                                                                        [7]   Sells final 5 contracts
             V (10)
844.70




844.60
                   V 100


844.50




844.40




844.30




844.20




844.10
         Buy Side: Vorley


                         04:02:00.0                    04:02:20.0                       04:02:40.0                    04:03:00.0                   04:03:20.0                          04:03:40.0

         ●     Places Order           Modifies Order   ●   Cancels Order       Buys Contract         Sells Contract   (Iceberg Order)     Mid−Price                Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 13 of 115 PageID #:4271                                                                    #7
                                                                                     January 22, 2009 − 14.670 secs − Gold
           Sell Side: Vorley
857.90


                                                                                                     Buy order placed 8.275 seconds after sell order
                                                                                                     After buy order placed, 0.013 seconds until next sell order fill
                                                                                                     Buy order canceled 0.585 seconds after last sell order fill
857.80




857.70




                         [1] (Iceberg)
                                     order to sell
857.60                   50 contracts ($4,287,500)
                                                              [4] Sells   final 27 contracts while buy order active

                                         [2] Sells   23 contracts before buy order placed
                V (50)
857.50




857.40
                                                                                                                                 V 100




857.30
                                                                                               [3] Orderto buy 100 contracts ($8,574,000)
                                                                                               Active for 0.678 seconds
                                                                                                            [5] Cancels   all 100 buy contracts
857.20
           Buy Side: Vorley


         09:48:25.0                                                         09:48:30.0                                                       09:48:35.0                                   09:48:40.0

            ●     Places Order           Modifies Order        ●   Cancels Order            Buys Contract                 Sells Contract   (Iceberg Order)      Mid−Price   Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 14 of 115 PageID #:4272                                                                                     #8
                                                                                    January 28, 2009 − 4.400 mins − Gold
                                                                                                                                                                                   Chat: Government Exhibit 44
         Sell Side: Bases and Chanu
892.90
             [1] Chanu(iceberg) order to sell 170 contracts                        [4] Chanuorder to buy 101 contracts ($9,011,220)
             ($15,172,500) placed at 07:37:16                                      Order active for 1.619 seconds
892.70                                                                             [5] Chanu   cancels all 101 buy contracts
                                                                                                                                      [7] Chanu   sells 170 contracts total (64 while buy orders active)
         C(170/170)
892.50



892.30


                                                                                                                C 101       B 41x10
892.10
                                                                                                                    B4                                        B 39x10                          B 50
                                                                                                                                                                    [8] Bases49
                                                                                                      B 21x10
891.90                                                                                                                                                              contracts filled
                                                                  Bases 4
                                                                [3]
                                                                                                  [6] Basessells 4 contracts after 4 buy
                                                                contracts filled
                                                                                                  contracts filled
891.70                                                                                                                                                                    [10] Bases
                                                                                                                                                                                   sells 50 contracts after 49
                                                                                                                                                                          buy contracts filled
                                                [2] Basesplaces 250 orders to buy 2,740 total contracts ($244,394,900)                 [9] Cancels
891.50                                                                                                                                                  98.1% of buy contracts (2,687 of 2,740)
                                                Active for 1.741 seconds on average (shortest canceled 0.278 seconds)


891.30



891.10



890.90


          B 250
890.70   B 148x10

         Buy Side: Bases and Chanu


                             07:43:20.0                               07:44:10.0                           07:45:00.0                       07:45:50.0                            07:46:40.0

         ●    Places Order          Modifies Order          ●    Cancels Order             Buys Contract            Sells Contract    (Iceberg Order)                 Mid−Price                Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 15 of 115 PageID #:4273                                                                   #8a
                                                                           January 28, 2009 − 4.400 mins − Gold
                                                                                                                                                                   Chat: Government Exhibit 44
         Sell Side: Bases and Chanu
892.90
             07:42:29 Chanu: we are 1 usd away from
             the target price                                                                                      07:47:30 Chanu: Absolutely brilliant
             07:42:30 Bases: i will get it back for u...                                                           07:47:33 Chanu: thank you VM
892.70       07:42:36 Chanu: we ll sell it                                                                         07:47:36 Chanu: teatch me that pls

         C(170/170)                        07:43:29 Chanu: brilliante
892.50



892.30


                                                                                                    C 101       B 41x10
892.10
                                                                                                        B4                                     B 39x10                         B 50
                                                                                          B 21x10
891.90



891.70
                                                                                                                     07:47:38 Bases: welcome
                                                                                                                     07:47:46 Bases: i felt bad
891.50                                                                                                               07:47:51 Bases: and soemtimes u can do it
                                                                                                                     07:47:54 Bases: and soemtimes u cantr
                                                                                                                     07:48:02 Bases: but glad to help
                                                                                                                     [...]
891.30
                                                                                                                     07:48:32 Bases: got that up 2 bucks
                                                                                                                     [...]
                                                                                                                     07:49:11 Bases: that does show u how easy it is to manipulate it soemtimes
891.10                                                                                                               07:49:13 Chanu: yeah yeah of course ,
                                                                                                                     07:49:23 Bases: that was alot of clicking
                                                                                                                     07:49:47 Chanu: basically you tricked alkll the algorythm
                                                                                                                     07:49:48 Bases: good man
890.90
                                                                                                                     07:49:52 Bases: correct
                                                                                                                     07:49:59 Bases: i know how to "game" this stuff...
          B 250                                                                                                      [...]
890.70   B 148x10                                                                                                    07:50:25 Bases: i f..k the mkt around a lot

         Buy Side: Bases and Chanu

                                      07:43:29
                              07:43:20.0                      07:44:10.0                       07:45:00.0                         07:45:50.0                      07:46:40.0

         ●     Places Order          Modifies Order    ●   Cancels Order       Buys Contract            Sells Contract      (Iceberg Order)           Mid−Price                Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 16 of 115 PageID #:4274                                                                         #9
                                                                                   January 30, 2009 − 1.470 mins − Gold
                                                                                                                                                                            Chat: Government Exhibit 45
         Sell Side: Bases and Chanu
924.90



924.80

                    [1] Chanu   (iceberg) order to sell 160 contracts ($14,793,600)                       [4] Chanusells 110 contracts                              [8] Bases
                                                                                                                                                                            sells 10 contracts after 10
924.70                                                                                                    (26 while Bases buy orders active)                        buy contracts filled


          C (160)
924.60


                                                              [3] 2
                                                                 buy contracts filled
924.50
                                                              Order canceled 0.291 seconds after fill
                                                                                                                                                                                                             B 10
924.40
                                                B 9x10
                                                                                          C (131)
924.30



924.20
                                                                                                                                          B 10

924.10
                                                                                                                                    B 12x10                                     B 16x10

924.00                                                                                                  [5] 5
                                                                                                           buy contracts filled
                                                                                                                                                        [6] 3
                                                                                                                                                           buy contracts filled
                                                                                                        Order canceled 1.546 seconds after fill
                                                                                                                                                        Order canceled 0.650 seconds after fill
923.90



923.80                          [2] 38
                                     orders to buy 380 total contracts ($35,118,600)
                                                                                                                                                   [7] Cancels   97.4% of buy contracts (370 of 380)
                                Active for 1.739 seconds on average (shortest canceled 0.425 seconds)

923.70
         Buy Side: Bases


                        07:54:40.0                                    07:55:00.0                          07:55:20.0                               07:55:40.0                                      07:56:00.0

         ●   Places Order                Modifies Order   ●     Cancels Order          Buys Contract            Sells Contract   (Iceberg Order)                Mid−Price                 Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 17 of 115 PageID #:4275                                                       #9a
                                                                          January 30, 2009 − 1.470 mins − Gold
                                                                                                                                                       Chat: Government Exhibit 45
         Sell Side: Bases and Chanu
924.90                                                                                                                                07:56:15 Chanu: Appreciate thks mate
                                                                                                                                      07:56:18 Bases: welcome
                                                                                                                                      07:56:24 Chanu: what a team
924.80                                                                                                                                07:56:33 Bases: thats what im here for


924.70


          C (160)
924.60



924.50


                                                                                                                                                                                    B 10
924.40
                                            B 9x10
                                                                                 C (131)
924.30



924.20
                                                                                                                          B 10

924.10
                                                                                                                    B 12x10                            B 16x10

924.00



923.90



923.80



923.70
         Buy Side: Bases


                        07:54:40.0                           07:55:00.0                       07:55:20.0                           07:55:40.0                             07:56:00.0

         ●   Places Order            Modifies Order   ●   Cancels Order       Buys Contract     Sells Contract   (Iceberg Order)           Mid−Price             Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 18 of 115 PageID #:4276                                                                             #10
                                                                                  February 03, 2009 − 11.950 secs − Gold
                                                                                                                                                                                  Chat: Government Exhibit 46
         Sell Side: Parker
910.40
                            [1] (Iceberg)                                                                  [3] Sells
                                                                                                                  2 contracts total
                                            order to sell 100 contracts ($9,103,000)
                                                                                                           (both while buy orders active)
          P (100)
910.30




910.20




910.10
                                                                                                                                          B 12x10
                                                                                                                                                                              [5] 83   contracts filled

910.00
                                                                                                                 B 5x10
                                                                                                                                [4] 18   contracts filled

909.90
                                                                                                  B 5x10


909.80
                                                                                     B 10


909.70




909.60
                                                                          B 10

                                            [2] 24
                                                 orders to buy 240 total contracts ($21,840,100)                                                              [6] Cancels   57.9% of buy contracts (139 of 240)
909.50                                      Active for 2.774 seconds on average (shortest canceled 0.339 seconds)
         Buy Side: Bases


                09:39:06.0                           09:39:08.0                   09:39:10.0                   09:39:12.0                        09:39:14.0                        09:39:16.0

         ●   Places Order               Modifies Order        ●   Cancels Order         Buys Contract          Sells Contract       (Iceberg Order)                 Mid−Price                   Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 19 of 115 PageID #:4277                                                                               #11
                                                                              February 03, 2009 − 3.090 mins − Gold
                                                                                                                                                                               Chat: Government Exhibit 46
           Sell Side: Chanu
906.70
                                 [1] Chanu   (iceberg) order to sell 50 contracts ($4,532,500)
906.60

                C (50)
906.50
                                                                                                                [4] Chanusells 34 contracts total
906.40
                                                                                                                (28 while buy orders active)
                   C 2x101
906.30


906.20

                                                                                                                                                           C (34)
906.10

                                                    C (42)                                                                                                         C (34)
906.00


905.90
                                                                                                      C 2x101
905.80
                                                                                                 B 7x10                        B 7x10 C 101                                    C 101
905.70
                                                           C 101                              C 101                             B 10
                                                                                             B 10x10
905.60                                                                                                  [5] Bases   8 buy contracts filled
                                                          B 10
                                                                                                                                                                                                 C (33)
905.50
                                                          B 10                                                                                         [6] Bases   3 buy contracts filled
905.40
                                                                                                                                                                                                   B 7x10
                                   [2] Chanu8 orders to buy 808 total contracts ($73,200,760)                [3] Bases34 orders to buy 340 total contracts ($30,792,800)
905.30                             Active for 0.888 seconds on average (shortest 0.483 seconds)              Active for 1.355 seconds on average (shortest canceled 0.178 seconds)

905.20                                                       [7] Chanu     cancels all 808 buy contracts                       [8] Bases   cancels 96.8% of buy contracts (329 of 340)

905.10
           Buy Side: Bases and Chanu


         10:30:00.0                                  10:30:50.0                                           10:31:40.0                                          10:32:30.0

            ●     Places Order    Modifies Order      ●    Cancels Order              Buys Contract           Sells Contract       (Iceberg Order)                 Mid−Price                Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 20 of 115 PageID #:4278                                                              #11a
                                                                            February 03, 2009 − 3.090 mins − Gold
                                                                                                                                                               Chat: Government Exhibit 46
           Sell Side: Chanu
906.70


906.60

                C (50)
906.50


906.40
                   C 2x101                         10:29:52 Bases: offer 50 lots at 906.50 again
906.30                                             10:30:40 Chanu: down to 6 ?
                                                   10:30:44 Bases: y
906.20

                                                                                                                                              C (34)
906.10

                                                    C (42)                                                                                       C (34)
906.00


905.90
                                                                                                 C 2x101
905.80
                                                                                            B 7x10                        B 7x10 C 101                        C 101
905.70
                                                            C 101                        C 101                            B 10
                                                                                        B 10x10
905.60
                                                           B 10
                                                                                                                                                                               C (33)
905.50
                                                           B 10
905.40
                                                                                                                                                                                 B 7x10
905.30


905.20
                                                                                                                                                             11:15:06 Bases: lost a bit of
                                                                                                                                                             money trying to bid it up for u
905.10                                                                                                                                                       and eruic hahahahahahha
           Buy Side: Bases and Chanu

                                           10:30:40
         10:30:00.0                                   10:30:50.0                                     10:31:40.0                                10:32:30.0

            ●     Places Order    Modifies Order       ●    Cancels Order        Buys Contract           Sells Contract     (Iceberg Order)      Mid−Price                Bid−Offer Spread
                                     Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 21 of 115 PageID #:4279                                                                                  #12
                                                                                February 17, 2009 − 8.800 secs − Gold
         Sell Side: Chanu
                                                                        [3] 3
                                                                            orders to sell 303 total contracts ($29,366,760)
969.00
                                                                        Active for 1.079 seconds on average (shortest 0.841 seconds)




                                                                                                                                  [5] Cancels   all 303 sell contracts
             C 101                                                                             C 101
968.90




                                                                                                                                                                                         C 101
968.80




968.70




968.60
         C(80/100)

                                                                                                                                                        [4] Buys 13 contracts while
                             [1] (Iceberg)                                                    [2] Buys   2 contracts
                                         order to buy 100 contracts ($9,686,000)
                                                                                                                                                        sell order active
                             placed at 09:51:57.908, with 80 contracts remaining

968.50
         Buy Side: Chanu


               09:52:32.0                           09:52:34.0                                      09:52:36.0                                      09:52:38.0                        09:52:40.0

         ●    Places Order         Modifies Order   ●   Cancels Order               Buys Contract                Sells Contract       (Iceberg Order)                  Mid−Price      Bid−Offer Spread
                                        Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 22 of 115 PageID #:4280                                                                             #12a
                                                                                February 17, 2009 − 7.410 mins − Gold
         Sell Side: Chanu
969.40                                                                         [2] 35
                                                                                    orders to sell 3,634 total contracts ($352,127,570)
                                                                               Active for 0.967 seconds on average (shortest 0.511 seconds)
                                                                                                   [4] Cancels   all 3,634 sell contracts
                                                                                        C 101
969.30



              C 101                                                                      C 101                                              C 101         C 3x101
969.20



                                                                                                                  C 101                                          C 2x101
969.10



               C 101        C 2x101 C 101                                                                        C 2x101                    C 3x101                  C 101
969.00



                                C 2x101 C 2x101 C 3x101                       C 101
968.90



                                               C 101 C 101 C 101                                                    C 2x101                                                         C 200
968.80



                                                                                                                                                                                  C 101
968.70




968.60
          C (101)           C (100)                                                                                                                     C (50)


968.50
                                                                                                        [3] Buys101 contracts total
                            [1] (Iceberg)   order to buy 101 contracts ($9,782,860)                     (43 while sell orders active)

968.40
         Buy Side: Chanu


                   09:51:40.0                                 09:53:20.0                                 09:55:00.0                                     09:56:40.0                      09:58:20.0

         ●   Places Order             Modifies Order      ●   Cancels Order             Buys Contract              Sells Contract     (Iceberg Order)                 Mid−Price     Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 23 of 115 PageID #:4281                                                                                #13
                                                                                    March 11, 2009 − 3.080 secs − Gold
         Sell Side: Vorley
901.40
                                                                                                                                       Buy order placed 2.382 seconds after sell order
                                                                                                                                       First sell order fill 0.013 seconds after buy order placement
                                                                                                                                       Buy order canceled 0.637 seconds after last sell order fill



901.30




901.20




           [1] (Iceberg)      order to sell 10 contracts ($901,000)
901.10

                                                                                                        [3] Sells   all 10 contracts while buy order active



             V (10)
901.00




900.90
                                                                                                                                                               V 100

                                                                                                                                           [2] Orderto buy 100 contracts ($9,009,000)
                                                                                                                                           Active for 0.695 seconds
                                                                                                                                                                        [4] Cancels   all 100 buy contracts
900.80
         Buy Side: Vorley


                        06:54:46.5                         06:54:47.0               06:54:47.5              06:54:48.0                            06:54:48.5                  06:54:49.0                      06:54:49.5

         ●     Places Order               Modifies Order        ●   Cancels Order       Buys Contract     Sells Contract        (Iceberg Order)                  Mid−Price                 Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 24 of 115 PageID #:4282                                                                                  #14
                                                                                   August 19, 2009 − 7.030 secs − Silver
         Sell Side: Vorley
13.615


                                                                                                                            Buy order placed 6.236 seconds after sell order
                                                                                                                            After buy order placed, 0.010 seconds until next sell order fill
                                                                                                                            Buy order canceled 0.785 seconds after last sell order fill


13.610




13.605


                  [1]   (Iceberg) order to sell 7 contracts ($476,000)

                                                                                                                            [4] Sells   final 4 contracts while buy order active
                                                         [2] Sells   3 contracts
               V (7)
13.600




13.595
                                                                                                                                                                                   V 50

                                                                                                                 [3] Orderto buy 50 contracts ($3,398,750)
                                                                                                                 Order is 56.2% of visible order book
                                                                                                                 Active for 0.797 seconds
                                                                                                                                                                              [5] Cancels   all 50 buy contracts
13.590
         Buy Side: Vorley


                              03:28:38.0                03:28:39.0                 03:28:40.0           03:28:41.0                       03:28:42.0              03:28:43.0                    03:28:44.0

         ●   Places Order              Modifies Order      ●   Cancels Order            Buys Contract      Sells Contract          (Iceberg Order)              Mid−Price                   Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 25 of 115 PageID #:4283                                                             #14a
                                                                             August 19, 2009 − 1.210 mins − Silver
         Sell Side: Vorley
13.615




13.610




13.605




             V (7)
13.600




13.595
                              V 50



13.590




13.585




13.580




13.575
         Buy Side: Vorley


                 03:28:40.0                                     03:29:00.0                                 03:29:20.0                                 03:29:40.0

         ●    Places Order           Modifies Order   ●   Cancels Order          Buys Contract   Sells Contract         (Iceberg Order)   Mid−Price                Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 26 of 115 PageID #:4284                                                                        #15
                                                                                  September 10, 2009 − 21.170 secs − Silver
         Sell Side: Chanu
16.370
                    [2] Order to sell 100 contracts ($8,182,500)

                    Order is 75.8% of visible order book
                                                                                 [4]   Cancels all 100 sell contracts
                    Active for 0.612 seconds
                                                                                          Sell order placed 5.375 seconds after buy order
                                                                                          First buy order fill 0.012 seconds after sell order placed
                                                              C 100                       Sell order canceled 0.590 seconds after last buy order fill
16.365




16.360
                V (15)                    [3]   Buys 4 contracts total (all while sell order active)



                    [1] (Iceberg)   order to buy 15 contracts ($1,227,000)

16.355




16.350




16.345
         Buy Side: Vorley


                              04:28:35.0                                         04:28:40.0                                      04:28:45.0                        04:28:50.0

         ●   Places Order              Modifies Order        ●   Cancels Order                Buys Contract             Sells Contract        (Iceberg Order)   Mid−Price       Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 27 of 115 PageID #:4285                                                                                              #16
                                                                                    September 29, 2009 − 3.150 secs − Gold
         Sell Side: Chanu
994.00



                                                                                                                                                 Buy order placed 2.466 seconds after sell order
                                                                                                                                                 After buy order placed, 0.011 seconds until next sell order fill
                                                                                                                                                 Buy order canceled 0.675 seconds after last sell order fill


993.90




993.80

          [1] (Iceberg)                                                                                                   [3] Sells   all 2 contracts while buy order active
                             order to sell 2 contracts ($198,740)




             C (2)
993.70




993.60
                                                                                                                                                                         C 100

                                                                                                              [2] Orderto buy 100 total contracts ($9,936,000)
                                                                                                              Order is 62.5% of visible order book
                                                                                                              Active for 0.686 seconds                                                 [4] Cancels   all 100 buy contracts

993.50
         Buy Side: Chanu


               02:03:56.0                       02:03:56.5                       02:03:57.0                       02:03:57.5                        02:03:58.0                 02:03:58.5                         02:03:59.0

         ●    Places Order               Modifies Order      ●   Cancels Order                Buys Contract                Sells Contract        (Iceberg Order)           Mid−Price                    Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 28 of 115 PageID #:4286                                                             #16a
                                                                                   September 29, 2009 − 46.940 secs − Gold
         Sell Side: Chanu
994.00




993.90
          [1] (Iceberg)      order to sell 2 contracts ($198,760)




             C (2)
993.80




                                                                                                           C (2)
993.70
                                                              C 100




993.60
                                                                                                                    C 100




993.50
                 [2] Orderto buy 100 contracts ($9,937,000)
                 Order is 62.5% of visible order book
                 Active for 0.837 seconds
                                           [3] Cancels    all 100 buy contracts
993.40
         Buy Side: Chanu


                                         02:03:40.0                                02:03:50.0                             02:04:00.0                     02:04:10.0                  02:04:20.0

         ●    Places Order               Modifies Order        ●   Cancels Order           Buys Contract           Sells Contract      (Iceberg Order)     Mid−Price   Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 29 of 115 PageID #:4287                                                                               #17
                                                                                          October 08, 2009 − 12.880 secs − Gold
           Sell Side: Chanu
1,054.10                                                                                                                                          Sell order placed 3.710 seconds after buy order
                                                                                                                                                  First buy order fill 0.233 seconds after sell order placement
                                                                                                                                                  Sell order canceled 0.764 seconds after buy order fills


1,054.00


                                                                      [2] Orderto sell 100 contracts ($10,537,000)
                                                                      Order is 25.0% of visible order book
                                                                      Active for 0.999 seconds
1,053.90
                                                                                           [4] Cancels   all 100 sell contracts




1,053.80




                                                                             C 100
1,053.70




1,053.60




1,053.50
               C (15)
                        [1] (Iceberg)                                                          [3] Buys   14 contracts while sell order active
                                        order to buy 15 contracts ($1,580,250)


1,053.40
           Buy Side: Chanu


                           10:10:08.0                        10:10:10.0                   10:10:12.0                    10:10:14.0                 10:10:16.0                 10:10:18.0                  10:10:20.0

           ●     Places Order               Modifies Order        ●       Cancels Order         Buys Contract            Sells Contract   (Iceberg Order)             Mid−Price             Bid−Offer Spread
                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 30 of 115 PageID #:4288                                             #17a
                                                                     October 08, 2009 − 1.360 mins − Gold
           Sell Side: Chanu
1,054.40




1,054.30




1,054.20




1,054.10




1,054.00




1,053.90




1,053.80



                        C 100
1,053.70




1,053.60




1,053.50
               C (15)
                                                                                                                                          [5] Buys   final contract

1,053.40
           Buy Side: Chanu


                                 10:10:20.0                             10:10:40.0                        10:11:00.0                    10:11:20.0

           ●     Places Order   Modifies Order   ●   Cancels Order       Buys Contract   Sells Contract   (Iceberg Order)   Mid−Price         Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 31 of 115 PageID #:4289                                                                         #18
                                                                             October 23, 2009 − 2.500 secs − Silver
         Sell Side: Chanu
17.945




                                                                                                                                      Buy order placed 1.866 seconds after sell order
                                                                                                                                      First sell order fill 0.024 seconds after buy order placement
                                                                                                                                      Buy order canceled 0.598 seconds after last sell order fill

17.940




          [1] (Iceberg)   order to sell 20 contracts ($1,793,500)
                                                                                 [3] Sells   20 contracts while buy order active

             C (20)
17.935




17.930
                                                                                                                                                C 100



                                                                                                     [2] Orderto buy 100 contracts ($8,965,000)                 [4] Cancels   all 100 buy contracts
                                                                                                     Order is 58.1% of visible order book
                                                                                                     Active for 0.635 seconds


17.925
         Buy Side: Chanu


                        08:16:44.0                       08:16:44.5                          08:16:45.0                       08:16:45.5                            08:16:46.0

         ●     Places Order            Modifies Order    ●   Cancels Order       Buys Contract            Sells Contract   (Iceberg Order)              Mid−Price                Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 32 of 115 PageID #:4290                                                  #18a
                                                                           October 23, 2009 − 1.020 mins − Silver
         Sell Side: Chanu
17.945




17.940




             C (20)
17.935




17.930
                  C 100




17.925




17.920




17.915
         Buy Side: Chanu


                              08:16:50.0               08:17:00.0                  08:17:10.0              08:17:20.0                 08:17:30.0          08:17:40.0

         ●     Places Order           Modifies Order   ●   Cancels Order        Buys Contract   Sells Contract      (Iceberg Order)           Mid−Price     Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 33 of 115 PageID #:4291                                                                            #19
                                                                                      October 26, 2009 − 17.480 secs − Gold
           Sell Side: Vorley
1,047.70




1,047.60          [1] (Iceberg)   order to sell 100 contracts ($10,474,000)




1,047.50
                                                            [3] Sells   41 contracts total (5 while buy orders active)

               V (100)
1,047.40




1,047.30
                               V 7x10                                                                                                                                  [6] Sells
                                              [4] 2   buy contracts filled                                                                                                     2 contracts after 2 buy
                                                                                                                                                                       contracts filled


1,047.20
                         V 3x10


                                                                                                                                                                                                        V2
1,047.10


                   [2] 10
                        orders to buy 100 contracts ($10,472,700)
                   Orders are up to 30.6% of visible order book
1,047.00           Active for 1.214 seconds on average (shortest canceled 0.327 seconds)
                                                [5] Cancels   98.0% of buy contracts (98 of 100)


1,046.90
           Buy Side: Vorley


                                   11:20:55.0                                               11:21:00.0                                        11:21:05.0                                      11:21:10.0

           ●   Places Order              Modifies Order        ●    Cancels Order            Buys Contract         Sells Contract   (Iceberg Order)        Mid−Price                 Bid−Offer Spread
                                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 34 of 115 PageID #:4292                                                                           #20
                                                                                          October 29, 2009 − 28.380 secs − Gold
           Sell Side: Chanu
1,038.60                                                        [3] Sells
                 [1]
                   (Iceberg) order to sell 20                          4 contracts while
                 contracts ($2,077,000)                         buy order active

               C (20)
1,038.50




1,038.40                                                                                                                          [5]
                                                                                                                                    Sells remaining 16 contracts at
                                 C 100                                                                                            lower price

                                                                                       C (16)
1,038.30
             [2] Orderto buy 100 contracts ($10,384,000)
             Order is up to 42.4% of visible order book
             Active for 0.448 seconds
1,038.20                        [4] Cancels   all 100 buy contracts



1,038.10




1,038.00




1,037.90




1,037.80




1,037.70
           Buy Side: Chanu


            09:37:45.0                             09:37:50.0                          09:37:55.0                   09:38:00.0                         09:38:05.0                 09:38:10.0

           ●     Places Order                 Modifies Order      ●    Cancels Order                Buys Contract     Sells Contract      (Iceberg Order)             Mid−Price           Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 35 of 115 PageID #:4293                                                                      #20a
                                                                             October 29, 2009 − 2.410 mins − Gold
           Sell Side: Chanu
1,038.60                                                                                                               (Iceberg) orders to sell 83 contracts
                                                                                                                       Sells all 83 contracts (19 while buy orders active)

                                                                             C (20)
1,038.50




1,038.40
                                                                               C 100

                                                                                       C (16)                                                                      C (20)
1,038.30



               C (23)                                                                                                  C (20)                                                   C (20)
1,038.20
                                                                                                                                                                        C 100


1,038.10
                                           C 100


1,038.00
                                C 100


1,037.90



                                                                                                                                                                                                C (7)
1,037.80


                                                                                                                       4 orders to buy 400 total contracts ($41,527,000)
1,037.70                                                                                                               Orders are up to 42.4% of visible order book
                                                                                                                       Active for 0.523 seconds on average (shortest 0.448 seconds)
                                                                                                                       Cancels all 400 buy contracts

1,037.60
           Buy Side: Chanu


                                                         09:37:30.0                                                09:38:20.0                                                    09:39:10.0

           ●     Places Order           Modifies Order   ●   Cancels Order        Buys Contract   Sells Contract         (Iceberg Order)           Mid−Price                 Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 36 of 115 PageID #:4294                                                                                       #21
                                                                                       November 11, 2009 − 1.030 mins − Gold
           Sell Side: Vorley
1,109.30

           [1] (Iceberg)   order to sell 40 contracts ($4,436,800)
                                                                                                                                                                                      [7] Cancelsfinal 39
                                         [3] Sells
                                                1 contract                                                                                                                            contracts at 01:30:08.614
               V (40)                    while buy orders active
1,109.20




                                                                                                                   [6] Sells   5 contracts after 5 buy contracts filled
1,109.10
                                V 6x10




                                                                                              V5
1,109.00
                       V 2x10
                                                [4] 5
                                                   buy contracts filled
                                                Order canceled 0.713 seconds after fills



1,108.90
                     V 4x10




1,108.80
                     V 10
            [2] 13
                 orders to buy 130 total contracts ($14,417,000)
            Active for 6.391 seconds on average (shortest canceled 3.955 seconds)

                                                                            [5] Cancels   96.2% of buy contracts (125 of 130)
1,108.70
           Buy Side: Vorley


                  01:27:20.0                         01:27:30.0                       01:27:40.0                      01:27:50.0                       01:28:00.0                01:28:10.0                       01:28:20.0

           ●     Places Order               Modifies Order        ●   Cancels Order                Buys Contract               Sells Contract    (Iceberg Order)          Mid−Price                 Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 37 of 115 PageID #:4295                                                                                #22
                                                                                   February 09, 2010 − 45.150 secs − Gold
           Sell Side: Vorley
1,075.60



1,075.50



1,075.40


                                                                                                                                  After first buy order placed, 2.244 seconds until next sell order fill
1,075.30                                                                                                                          Next buy order canceled 0.240 seconds after last sell order fill

               [1] (Iceberg)                                                                                              [3] Sells
                                                                                                                                  50 contracts total
1,075.20                        order to sell 50 contracts ($5,375,000)
                                                                                                                          (final 29 while buy orders active)

1,075.10

               V (50)
1,075.00



1,074.90
                                                                                                                                                                                               V 5x10

1,074.80
                                                                                                                                                                                            V 10

1,074.70
                                                                                                                                                                                       V 4x10

1,074.60
                                                                                                                                                                                      V 3x10

1,074.50
                                                                                                                                         [2] 13
                                                                                                                                              orders to buy 130 total contracts ($13,971,900)
                                                                                                                                         Orders are up to 51.2% of visible order book
1,074.40                                                                                                                                 Active for 2.367 seconds on average (shortest 0.224 seconds)
                                                                                                                                                                        [4] Cancels   all 130 buy contracts
1,074.30
           Buy Side: Vorley


                                       09:23:40.0                                09:23:50.0                          09:24:00.0                               09:24:10.0                                     09:24:20.0

           ●     Places Order              Modifies Order    ●   Cancels Order                Buys Contract   Sells Contract          (Iceberg Order)           Mid−Price                 Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 38 of 115 PageID #:4296                                                             #22a
                                                                             February 09, 2010 − 55.900 secs − Gold
           Sell Side: Vorley
1,075.70


1,075.60


1,075.50


1,075.40


1,075.30


1,075.20


1,075.10

               V (50)
1,075.00


1,074.90
                                                                                                                                                V 5x10

1,074.80
                                                                                                                                               V 10

1,074.70
                                                                                                                                            V 4x10

1,074.60
                                                                                                                                            V 3x10

1,074.50


1,074.40


1,074.30
           Buy Side: Vorley


                                09:23:40.0                   09:23:50.0                     09:24:00.0                    09:24:10.0                     09:24:20.0                 09:24:30.0

           ●     Places Order           Modifies Order   ●   Cancels Order        Buys Contract          Sells Contract   (Iceberg Order)             Mid−Price       Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 39 of 115 PageID #:4297                                                                                #23
                                                                                   February 12, 2010 − 45.650 secs − Gold
           Sell Side: Vorley
1,088.80
                                                                                                              11 orders to sell 110 total contracts ($11,973,900)
                                                                                                            [2]

                                                                                                            Orders are up to 58.8% of visible order book
                                                                                                            Active for 2.888 seconds on average (shortest 0.617 seconds)
                                                                                                                                            [4] Cancels   all 110 sell contracts
                                                                                                                                                                                   V 2x10
1,088.70




                                                                                                                                                                                   V 3x10
1,088.60




                                                                                                                                                                                     V 3x10
1,088.50




                                                                                                                                                                                            V 3x10
1,088.40




1,088.30
            V(4/15)


1,088.20            [1] (Iceberg)
                                order to buy 15 contracts                                                              Buys final 4 contracts while sell
                                                                                                                     [3]

                    ($1,632,450) placed at 03:48:44.240, with 4                                                      orders active
                    contracts remaining


1,088.10


                                                                                                                           First sell order placed 216.964 seconds after buy order.
                                                                                                                           After first sell order placed, 1.043 seconds until next buy order fill
                                                                                                                           Next sell order canceled 1.101 seconds after last buy order fill
1,088.00
           Buy Side: Vorley


            03:51:40.0                                03:51:50.0                             03:52:00.0                          03:52:10.0                                 03:52:20.0

           ●   Places Order          Modifies Order         ●      Cancels Order        Buys Contract     Sells Contract       (Iceberg Order)                 Mid−Price              Bid−Offer Spread
                                               Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 40 of 115 PageID #:4298                                                                     #23a
                                                                                     February 12, 2010 − 5.260 mins − Gold
           Sell Side: Vorley
1,089.00



1,088.90



1,088.80


                                                                                                                                     V 2x10
1,088.70


                                                                                                                                     V 3x10
1,088.60


                                                                                                                                     V 3x10
1,088.50


                                                                                                                                       V 3x10
1,088.40



1,088.30
               V (15)

1,088.20



1,088.10



1,088.00



1,087.90
           Buy Side: Vorley


                                03:49:10.0                    03:50:00.0                03:50:50.0           03:51:40.0                      03:52:30.0               03:53:20.0                      03:54:10.0

           ●     Places Order                Modifies Order      ●   Cancels Order        Buys Contract   Sells Contract   (Iceberg Order)                Mid−Price                Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 41 of 115 PageID #:4299                                                                              #24
                                                                                 March 30, 2010 − 14.080 mins − Silver
         Sell Side: Chanu
17.320

                                                                                          [3] 286
                                                                                                orders to sell 2,860 total contracts ($247,243,750)
                                                                          C 2x10
17.315                                                                                    Orders are up to 70.6% of visible order book
                                                                                          Active for 2.865 seconds on average (shortest 0.360 seconds)

                                                                          C 4x10                                                                          [5] Cancels
17.310                                                                                                                                                                    all 2,860 sell contracts


                                                                          C 9x10                                                                                   C 10
17.305


                                                                          C 3x10           C 5x10                                           C 9x10           C 5x10                               C 2x10
17.300


                                                                          C 9x10C 23x10                                                     C 9x10    C 10x10                                        C 3x10
17.295


                                                                                   C 15x10                                 C 19x10 C 18x10            C 17x10                                        C 4x10
17.290


                                                                                    C 12x10              C 10x10                            C 10x10   C 33x10                                        C 2x10
17.285


                                                                                          C 12x10        C 8x10                             C 14x10   C 8x10 C 10                                    C 9x10
17.280


                              [2] Buys   45 contracts
17.275
          C (100)
              CC(65)
                  (55)                                                                                     [4] Buys   45 contracts (37 while sell orders active)
                            [1] (Iceberg)   order to buy 100 contracts ($8,637,500)
17.270
             C (66)
                C (55)
17.265
         Buy Side: Chanu


                                      10:40:00.0                                   10:43:20.0                                  10:46:40.0                                 10:50:00.0

         ●   Places Order                   Modifies Order   ●   Cancels Order           Buys Contract        Sells Contract        (Iceberg Order)           Mid−Price                 Bid−Offer Spread
                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 42 of 115 PageID #:4300                                                                         #24a
                                                                        March 30, 2010 − 15.630 mins − Silver
         Sell Side: Chanu
17.320


                                                       C 2x10
17.315


                                                       C 4x10
17.310


                                                       C 9x10                                                                               C 10
17.305


                                                       C 3x10            C 5x10                                    C 9x10                 C 5x10                    C 2x10
17.300


                                                        C 9x10C 23x10                                              C 9x10       C 10x10                             C 3x10C 2x10
17.295


                                                                     C 15x10                      C 19x10 C 18x10               C 17x10                             C 4x10C 3x10
17.290


                                                                     C 12x10            C 10x10                    C 10x10 C 33x10                                  C 2x10C 7x10
17.285


                                                                         C 12x10         C 8x10                    C 14x10      C 9x10                           C 9x10 C 16x10C 8x10
17.280



17.275
          C (100)                                                                                                                                                         C (10)
              CC(65)
                 (55)
17.270
             C (66)                                                                                                                                                    C (10)
                C (55)
17.265
         Buy Side: Chanu


                            10:40:00.0                           10:43:20.0                         10:46:40.0                                 10:50:00.0                          10:53:20.0

         ●   Places Order       Modifies Order   ●   Cancels Order             Buys Contract      Sells Contract        (Iceberg Order)              Mid−Price            Bid−Offer Spread
                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 43 of 115 PageID #:4301                                                                                  #24b
                                                                       March 30, 2010 − 14.080 mins − Silver
         Sell Side: Chanu
17.320


                                                                C 2x10
17.315


                                                                C 4x10
17.310


                                                                C 9x10                                                                                    C 10
17.305


                                                                C 3x10           C 5x10                                             C 9x10              C 5x10                             C 2x10
17.300


                                                                C 9x10C 23x10                                                       C 9x10    C 10x10                                      C 3x10
17.295


                                                                         C 15x10                                   C 19x10 C 18x10            C 17x10                                       C 4x10
17.290


                                                                          C 12x10               C 10x10                             C 10x10   C 33x10                                       C 2x10
17.285


                                                                                C 12x10          C 8x10                             C 14x10   C 8x10 C 10                                   C 9x10
17.280



17.275
          C (100)           Trades 1 contract with QT18 at 10:43:58.568                                                                                        Trades 1 contract with
              CC(65)
                  (55)                                                                                                                                         QT18 at 10:49:16.913
                                               Trades 1 contract with QT18                     Trades 1 contract with
17.270
                                               at 10:45:08.412                                 QT18 at 10:47:28.996                             Trades 1 contract with
             C (66)
                                                                                                                                                QT18 at 10:49:13.800
                C (55)                              Trades 1 contract with QT18                Trades 1 contract with
                                                    at 10:45:11.510                                                            Trades 1 contract with                Trades 1 contract with QT18
17.265                                                                                         QT18 at 10:48:38.226
                                                                                                                               QT18 at 10:49:13.799                  at 10:51:50.822
         Buy Side: Chanu


                            10:40:00.0                                   10:43:20.0                                    10:46:40.0                                   10:50:00.0

         ●   Places Order     Modifies Order       ●   Cancels Order           Buys Contract          Sells Contract        (Iceberg Order)             Mid−Price                Bid−Offer Spread
                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 44 of 115 PageID #:4302                                                                         #24c
                                                                   March 30, 2010 − 14.080 mins − Silver
         Sell Side: Chanu
17.320


                                                            C 2x10
17.315


                                                            C 4x10
17.310


                                                            C 9x10                                                                                 C 10
17.305


                                                            C 3x10           C 5x10                                            C 9x10          C 5x10                             C 2x10
17.300


                                                            C 9x10C 23x10                                                      C 9x10    C 10x10                                  C 3x10
17.295


                                                                     C 15x10                                  C 19x10 C 18x10            C 17x10                                   C 4x10
17.290


                                                                      C 12x10              C 10x10                             C 10x10   C 33x10                                   C 2x10
17.285


                                                                            C 12x10         C 8x10                             C 14x10   C 8x10 C 10                               C 9x10
17.280



17.275
          C (100)
              CC(65)
                  (55)                                                             Trades 3 contracts with Q3P at 10:48:38.242
17.270
             C (66)
                C (55)                                                                      Trades 1 contract with Q3P at 10:48:38.243
17.265                                                                                                                                   Trades 1 contract with Q3P at 10:51:52.279
         Buy Side: Chanu


                            10:40:00.0                               10:43:20.0                                   10:46:40.0                               10:50:00.0

         ●   Places Order     Modifies Order   ●   Cancels Order           Buys Contract         Sells Contract        (Iceberg Order)         Mid−Price                Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 45 of 115 PageID #:4303                                                                                #25
                                                                                      June 17, 2010 − 4.840 mins − Gold
           Sell Side: Vorley
1,247.90


1,247.80


1,247.70
                                                                                     [3] Sells   200 contracts total (48 while buy orders active)
                                                                                                                                                                                           V (20)
1,247.60
               [1] (Iceberg)    order to sell 200 contracts ($24,946,000)
                                                                                                                                                                      V (34)
1,247.50

                                                                                 V (83)            V (59)
1,247.40

            V (200)                                                   V (104)
1,247.30
                                                                                                                                                                                      V 3x10
                                                                  V (119)                         V (59)
1,247.20
                                                                                                                                                                                     V 7x10
                                V (190)                                                          V (61)
1,247.10
                    V 3x10                                             V 7x10
                                                                                          V (78)                             V (20)
1,247.00                                                                                                                                          [5]Sells 20 contracts
                                                                     V 4x10
                                                                                                                                                  after 20 buy contracts filled
1,246.90
                                                                                                                   V 5x10
1,246.80
                                                                                                                   V 3x10
                                                                                                                                      [4] 20   buy contracts filled
1,246.70
                                                                                                                   V 2x10
1,246.60   [2] 37
                orders to buy 370 total contracts ($46,139,200)
           Orders are up to 56.5% of visible order book
                                                                                                                    V 10
                                                                                                                                                             [6] Cancels   94.6% of buy contracts (350 of 370)
1,246.50   Active for 2.773 seconds on average (shortest canceled 0.522 seconds)
                                                                                                                   V 2x10
1,246.40
           Buy Side: Vorley


                                      10:15:50.0                   10:16:40.0                         10:17:30.0                      10:18:20.0                        10:19:10.0                    10:20:00.0

           ●     Places Order              Modifies Order    ●   Cancels Order            Buys Contract             Sells Contract     (Iceberg Order)                 Mid−Price            Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 46 of 115 PageID #:4304                                                                          #25a
                                                                                    June 17, 2010 − 4.840 mins − Gold
           Sell Side: Vorley
1,247.90
                                                                                                                                                                    Trades 1 contract with
1,247.80                                                                                                                                                            QT18 at 10:19:34.039


1,247.70                                                                                                                                              Trades 1 contract with
                                                                                                                                                      QT18 at 10:19:32.967
                                                                                                                                                                                   V (20)
1,247.60

                                                                                                                                                             V (34)
1,247.50

                                            Trades 1 contract with             V (83)          V (59)
1,247.40                                    QT18 at 10:16:42.320

            V (200)                                                  V (104)
1,247.30
                                                                                                                                                                               V 3x10
                                                                V (119)                      V (59)
1,247.20
                                                                                                                                                                               V 7x10
                              V (190)                                                       V (61)
1,247.10
                  V 3x10                                              V 7x10
                                                                                        V (78)                            V (20)
1,247.00
                                                                     V 4x10
1,246.90
                                                                                                                V 5x10
1,246.80
                                                                                                                V 3x10
1,246.70
                                                                                                                V 2x10
1,246.60
                                                                                                                 V 10
1,246.50
                                                                                                                V 2x10
1,246.40
           Buy Side: Vorley


                                    10:15:50.0                   10:16:40.0                        10:17:30.0                      10:18:20.0                   10:19:10.0                    10:20:00.0

           ●   Places Order              Modifies Order    ●   Cancels Order            Buys Contract            Sells Contract     (Iceberg Order)            Mid−Price            Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 47 of 115 PageID #:4305                                                                                #25b
                                                                                     June 17, 2010 − 4.840 mins − Gold
           Sell Side: Vorley
1,247.90


1,247.80
                                                                                                                                                                             Trades 1 contract with
1,247.70                                                                                                                                                                     Q3P at 10:19:32.704

                                                                                                                                                       Trades 1 contract with           V (20)
1,247.60                                                                                                                                               Q3P at 10:19:32.703
                                                 Trades 1 contract with
                                                 Q3P at 10:16:45.708
                                                                                                                                                               V (34)
1,247.50

                                                                                V (83)          V (59)
1,247.40

            V (200)                                                  V (104)
1,247.30
                                                                                                                                                                                   V 3x10
                                                                 V (119)                      V (59)
1,247.20
                                                                                                                                                                                  V 7x10
                              V (190)                                                        V (61)
1,247.10
                  V 3x10                                              V 7x10
                                                                                         V (78)                            V (20)
1,247.00
                                                                    V 4x10
1,246.90
                                                                                                                 V 5x10
1,246.80
                                                                                                                 V 3x10
1,246.70
                                                                                                                 V 2x10
1,246.60
                                                                                                                  V 10
1,246.50
                                                                                                                 V 2x10
1,246.40
           Buy Side: Vorley


                                    10:15:50.0                    10:16:40.0                        10:17:30.0                      10:18:20.0                    10:19:10.0                        10:20:00.0

           ●   Places Order              Modifies Order     ●   Cancels Order            Buys Contract            Sells Contract     (Iceberg Order)             Mid−Price                Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 48 of 115 PageID #:4306                                                                            #26
                                                                           August 26, 2010 − 19.910 secs − Gold
           Sell Side: Liew
1,244.90




                           order to sell 15 contracts ($1,867,050)
               [1] (Iceberg)

               placed at 03:04:16.036, with 1 contract remaining
1,244.80




                                                                                                                         [3] Sells   final contract while buy orders active
            L(1/15)
1,244.70




1,244.60
                                                                                                                                                                                V 4x10




1,244.50
                                                                                                                                                                          V 10




1,244.40
                                                                                                                                                                  V 3x10
                                                                                                  [2] 8
                                                                                                      orders to buy 80 total contracts ($9,956,100)
                                                                                                  Orders are up to 58.0% of visible order book
                                                                                                  Active for 1.726 seconds on average (shortest 0.629 seconds)

                                                                                                                                                                 [4] Cancels   all 80 buy contracts
1,244.30
           Buy Side: Vorley


            03:10:30.0                                03:10:35.0                               03:10:40.0                                    03:10:45.0                                          03:10:50.0

           ●   Places Order          Modifies Order    ●   Cancels Order       Buys Contract          Sells Contract   (Iceberg Order)               Mid−Price                    Bid−Offer Spread
                                               Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 49 of 115 PageID #:4307                                                                     #26a
                                                                                           August 26, 2010 − 8.320 mins − Gold
           Sell Side: Liew
1,244.90     [1] (Iceberg) order to sell 15 contracts ($1,867,050)




1,244.80
                                                              [2] Sells   14 contracts


               L (15)
1,244.70




1,244.60
                                                                                                                                                               V 4x10


1,244.50
                                                                                                                                                                V 10


1,244.40
                                                                                                                                                               V 3x10


1,244.30




1,244.20




1,244.10




1,244.00
           Buy Side: Vorley


                                03:05:00.0                                  03:06:40.0                         03:08:20.0                         03:10:00.0                03:11:40.0

           ●     Places Order                Modifies Order         ●      Cancels Order       Buys Contract            Sells Contract   (Iceberg Order)        Mid−Price          Bid−Offer Spread
                                               Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 50 of 115 PageID #:4308                                                                                     #27
                                                                                       October 07, 2010 − 1.850 mins − Gold
           Sell Side: Vorley
1,362.60
            [1]   (Iceberg) order to sell 80 contracts ($10,896,000)

1,362.50           [3] Sells
                           all 80
                   contracts while
1,362.40           buy order active

                                                                        [5]
                                                                          (Iceberg) order to sell 80
1,362.30
                                                                        contracts ($10,896,000)

1,362.20
                                                                                [6] Sells   17 contracts before buy order is placed
                                                                                                                                                                                  [10] Sells   final 41 contracts
1,362.10
                                                                                                   [8] Sells    22 contracts while buy order active
               V (80)                                                  V (80)
1,362.00
                                                                                                            [7] Orderto buy 100 contracts ($13,618,000)
1,361.90                                                                                                    Orders are 53.5% of visible order book
                                                                                                            Active for 2.908 seconds
1,361.80                                                                                                                       [9] Cancels   all 100 buy contracts
                                                                                 C 100
1,361.70
                    C 100
1,361.60
            [2] Order to buy 100 contracts ($13,617,000)
1,361.50    Orders are 50.3% of visible order book
            Active for 1.523 seconds
1,361.40                         [4] Cancels   all 100 buy contracts

1,361.30


1,361.20


1,361.10


1,361.00
           Buy Side: Chanu


                                      08:02:40.0                          08:03:00.0                              08:03:20.0                        08:03:40.0                   08:04:00.0                           08:04:20.0

           ●      Places Order             Modifies Order      ●   Cancels Order                Buys Contract              Sells Contract       (Iceberg Order)      Mid−Price                     Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 51 of 115 PageID #:4309                                                                               #28
                                                                               November 03, 2010 − 9.530 mins − Gold                                                                Chat: Government Exhibit 8B
           Sell Side: Liew
1,356.00
            L (100)

1,355.80


1,355.60

                                                                                                       [9] Liewsells 255 contracts
               [1] Liew   (iceberg) order to sell 400 contracts ($54,196,000)
1,355.40                                                                                               (6 while buy orders active)

                                                                                                                                                                        [10] Liew   sells additional 72 contracts
1,355.20
                      L (383)
                         L (2x349) L (2x311)     L (280)
                                                       L (243)                                                                  L (206)
                                                                                                                                   L (206)
                L (2x396)       L (3x340)L (3x300) L (280)        L (233)                                                      L (206)           L (182)
1,355.00
            L (400)     L (379)                             L (234)       L (233)                                                             L (183)L (182)
                                                                                                                                              L (183)                      L (122)
1,354.80
                                                                                       L 4x10V 4x10 L 5x10                                            L (182)           L (123)L (122)
                  C 100                                                                       V 10     V 7x10                                                        LL(126)
                                                                                                                                                                        (126)
1,354.60
                                                                                          V 10                                                      C 50          L (128)
                                                                                                                                                                L (129)     L 2x10                  L (72)
1,354.40
                                                                                                                                                                L (182)    V 16x10
             [2] Chanu:
                                                                                [4] Liew:
1,354.20     2 orders to buy 150 contracts
                                                                                11 orders to buy 110 contracts ($14,902,200)
             ($20,320,000)
                                                                                Active for 1.188 seconds on average (shortest
             Active for 5.173 seconds on average
1,354.00                                                                        0.359 seconds)
             (shortest 2.179 seconds)                                                                                                                                                                     L (10)
                                                                                       [5] Liew   cancels all 110 buy contracts
             [3] Chanu    cancels all 150 buy contracts
                                                                                                                                                                                                       L (72)
1,353.80
                                                                                                                                     [7] Vorley:

                                                                                                                                     29 orders to buy 290 contracts ($39,285,100)
1,353.60                                                                                                                             Active for 2.469 seconds on average (shortest
                                                                                                                                     0.410 seconds)
1,353.40
                                                           [6] Orders                                                                        [8] Vorley   cancels all 290 buy contracts
                                                                        to buy are up to 65.2% of visible order book

1,353.20


1,353.00
           Buy Side: Chanu, Liew, and Vorley


                                     02:45:00.0                   02:46:40.0                          02:48:20.0                       02:50:00.0                       02:51:40.0                         02:53:20.0

           ●   Places Order              Modifies Order   ●   Cancels Order           Buys Contract                Sells Contract     (Iceberg Order)               Mid−Price                Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 52 of 115 PageID #:4310                                                                    #28a
                                                                          November 03, 2010 − 9.530 mins − Gold                                                       Chat: Government Exhibit 8B
           Sell Side: Liew
1,356.00
            L (100)

1,355.80


1,355.60


1,355.40


1,355.20
                      L (383)
                         L (2x349) L (2x311)     L (280)
                                                       L (243)                                                           L (206)
                                                                                                                            L (206)
                L (2x396)       L (3x340)L (3x300) L (280)        L (233)                                               L (206)           L (182)
1,355.00
            L (400)     L (379)                             L (234)       L (233)                                                      L (183)L (182)
                                                                                                                                       L (183)                   L (122)
1,354.80
                                                                                L 4x10V 4x10 L 5x10                                            L (182)        L (123)L (122)
                  C 100                                                                V 10     V 7x10                                                     LL(126)
                                                                                                                                                              (126)
1,354.60
                                                                                   V 10                                                      C 50       L (128)
                                                                                                                                                      L (129)     L 2x10               L (72)
1,354.40
                                                                                                                                                      L (182)    V 16x10
1,354.20


1,354.00
                                                                                                                                         02:56:49 Vorley: hahah                             L (10)
                                                                                                                                         02:56:50 Vorley: na
                                                                                                                                                                                         L (72)
1,353.80                                                                                                                                 02:56:54 Vorley: was cladssic
                                                                                                                                         02:56:56 Vorley: jam it
                                                                                                                                         02:56:57 Vorley: woooooooooooo
1,353.60                                                                                                                                 03:00:52 Vorley: i moved ur offer up
                                                                                                                                         03:00:53 Vorley: bif it up
                                                                                                                                         03:00:58 Vorley: dropped it on AB :D
1,353.40                                                                                                                                 03:01:07 Liew: haha ok
                                                                                                                                         03:01:08 Vorley: figured 71k
1,353.20
                                                                                                                                         03:01:12 Vorley: wud then window dress fill
                                                                                                                                         03:01:21 Liew: tricks from the mater
                                                                                                                                         03:01:22 Liew: master
1,353.00
           Buy Side: Chanu, Liew, and Vorley


                                02:45:00.0                   02:46:40.0                        02:48:20.0                       02:50:00.0                    02:51:40.0                     02:53:20.0

           ●   Places Order         Modifies Order   ●   Cancels Order         Buys Contract                Sells Contract     (Iceberg Order)            Mid−Price            Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 53 of 115 PageID #:4311                                                                   #28b
                                                                          November 03, 2010 − 9.530 mins − Gold                                                      Chat: Government Exhibit 8B
           Sell Side: Liew
1,356.00
            L (100)

1,355.80


1,355.60

                                                                             Trades 1 contract with                Trades 1 contract with
1,355.40
                                                                             Q2P at 2:48:03.270                    Q2P at 2:48:38.914

1,355.20
                      L (383)
                         L (2x349) L (2x311)     L (280)
                                                       L (243)                                                           L (206)
                                                                                                                            L (206)
                L (2x396)       L (3x340)L (3x300) L (280)        L (233)                                               L (206)           L (182)
1,355.00
            L (400)     L (379)                             L (234)       L (233)                                                      L (183)L (182)
                                                                                                                                       L (183)                 L (122)
1,354.80
                                                                                L 4x10V 4x10 L 5x10                                            L (182)      L (123)L (122)
                  C 100                                                                V 10     V 7x10                                                   LL(126)
                                                                                                                                                            (126)
1,354.60
                                                                                   V 10                                                      C 50     L (128)
                                                                                                                                                    L (129)     L 2x10              L (72)
1,354.40
                                                                                                                                                    L (182)    V 16x10
1,354.20


1,354.00
                                                                                                                                                                                          L (10)
                                                                                                                                                                                       L (72)
1,353.80


1,353.60


1,353.40


1,353.20


1,353.00
           Buy Side: Chanu, Liew, and Vorley


                                02:45:00.0                   02:46:40.0                        02:48:20.0                       02:50:00.0                   02:51:40.0                    02:53:20.0

           ●   Places Order         Modifies Order   ●   Cancels Order         Buys Contract                Sells Contract     (Iceberg Order)           Mid−Price           Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 54 of 115 PageID #:4312                                                                   #29
                                                                                       November 16, 2010 − 1.830 mins − Gold
                                                                                                                                                                          Chat: Government Exhibit 55
           Sell Side: Chanu
1,358.80
           C(181/196)
1,358.70


1,358.60


1,358.50


1,358.40


1,358.30

            [1] (Iceberg)     order to sell 181 contracts ($24,577,990)
1,358.20                                                                                                                                                 [4] Sells
                                                                                                                                                                9 contracts
                                                                                                                                                         while buy order active
1,358.10
                                            [2] Sells   32 contracts

1,358.00

            C (181)
1,357.90

                                                                                                                                                                C (148)
1,357.80


1,357.70


1,357.60
                                                                                                                                                     C 100
1,357.50


1,357.40
                                                                                                              [3] Orderto buy 100 contracts ($13,576,000)
                                                                                                              Order is 59.2% of visible order book
1,357.30                                                                                                      Active for 10.033 seconds

                                                                                                                                                       [5] Cancels   all 100 buy contracts
1,357.20
           Buy Side: Chanu


                              06:57:20.0                        06:57:40.0                       06:58:00.0                    06:58:20.0                    06:58:40.0                       06:59:00.0

           ●   Places Order                Modifies Order       ●      Cancels Order        Buys Contract     Sells Contract       (Iceberg Order)           Mid−Price             Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 55 of 115 PageID #:4313                                                                      #29a
                                                                                     November 16, 2010 − 10.870 mins − Gold
                                                                                                                                                                               Chat: Government Exhibit 55
           Sell Side: Chanu
1,359.40
                    C (6)
1,359.20

1,359.00   C (3x200)

1,358.80                C (196)

1,358.60

1,358.40

                                                                                                            (Iceberg) orders to sell 666 contracts
1,358.20
                                                                                                            sells all 666 contracts (10 while buy orders active)
1,358.00                               C (181)
                                                                    C (148)
1,357.80

1,357.60                                                                      C (121)
                                                                  C 100 C (128)
1,357.40                                                              C (140)

1,357.20                                                                                C 5x10                                    C (2x200)
                                                                                        C 4x10
1,357.00                                                                                C 3x10

1,356.80                                                                                                                          C (14) C (118)
                                                                                                                                      C (142)
                                                                                                                   C (79)          C (3)                              C (66)
1,356.60                                                                             C 32x10             C (38) C (179)
                                                                                                 C (115)    C 200
1,356.40                                                                                                                                                                                              C (44)
               45 orders to buy 540 total contracts ($73,287,700)
1,356.20       Orders are up to 65.2% of visible order book                                                                                           C (82)
               Active for 5.540 seconds on average (shortest 0.629 seconds)                                                                      C (115)
1,356.00                                                                                                                                              C (82)
                                                    Cancels all 540 buy contracts
1,355.80

1,355.60

1,355.40   Buy Side: Chanu


                               06:56:40.0                    06:58:20.0                 07:00:00.0               07:01:40.0                     07:03:20.0                 07:05:00.0                 07:06:40.0

           ●    Places Order                Modifies Order      ●    Cancels Order          Buys Contract        Sells Contract      (Iceberg Order)           Mid−Price                Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 56 of 115 PageID #:4314                                                                              #29b
                                                                                  November 16, 2010 − 10.870 mins − Gold
                                                                                                                                                                                    Chat: Government Exhibit 55
           Sell Side: Chanu
1,359.40
                   C (6)
1,359.20

1,359.00   C (3x200)
                                                                                                         06:56:42 Donohoe: it is being sold
1,358.80               C (196)                                                                           06:56:47 Donohoe: u and i will sort the money out later
                                                                                                         06:56:50 Donohoe: i'll be back
1,358.60                                                                                                 06:57:06 Chanu: I am taking care of it
                                                                                                         06:57:12 Swasbrook: Ok
1,358.40                                                                                                 06:57:20 Gentile: the all desk takin care of you danny, what a service
                                                                                                         06:57:26 Chanu: ahaha
1,358.20                                                                                                 06:57:44 Gentile: ced have i veer told you danny is the best sales guy globally?
                                                                                                         06:57:51 Swasbrook: bite me
1,358.00                              C (181)                                                            06:57:57 Gentile: hahahahah
                                                                 C (148)                                 06:58:01 Chanu: what a team !
1,357.80
                                                                                                                                              07:03:57 Chanu: sold nearly 60k mate
1,357.60
                                                                                                                                              07:04:01 Swasbrook: ok
                                                                           C (121)                                                            07:04:12 Chanu: won t cost you more than 5 bux
                                                               C 100 C (128)
1,357.40
                                                                                                                                              07:04:15 Chanu: don t worry
                                                                   C (140)                                                                    07:07:31 Chanu: ok average on the fut is 1357.13 usd on spot
1,357.20                                                                             C 5x10                                        C (2x200)
                                                                                     C 4x10
1,357.00     06:54:32 Donohoe: yo
                                                                                     C 3x10
             06:54:36 Swasbrook: HEY
1,356.80     06:54:47 Swasbrook: SUNIL BOUGHT 74K GOLD                                                                             C (14) C (118)
                                                                                                                                       C (142)
             06:54:52 Swasbrook: IT SHOULD HAVE BEEN 7.5K                                                       C (79)              C (3)                                  C (66)
1,356.60     06:54:56 Donohoe: ok
                                                                                  C 32x10             C (38) C (179)
             06:54:56 Swasbrook: 7,4K                                                         C (115)    C 200
1,356.40     06:55:01 Swasbrook: YOU NEED TO GET ME OUT                                                                                                                                                    C (44)
             06:55:04 Swasbrook: OF THE OTHER
1,356.20     06:55:07 Donohoe: i'll deal with it                                                                                                       C (82)
             06:55:37 Donohoe: i have to go to a meeting                                                                                          C (115)
1,356.00     06:55:41 Donohoe: ced selling it                                                                                                          C (82)
             06:55:47 Donohoe: i bring luigi in to
1,355.80     06:55:52 Swasbrook: ok 66.6 you need to sell

1,355.60

1,355.40   Buy Side: Chanu

                                      06:57:06                                                                                                                07:03:57
                              06:56:40.0                  06:58:20.0                 07:00:00.0                   07:01:40.0                     07:03:20.0                     07:05:00.0                 07:06:40.0

           ●   Places Order              Modifies Order      ●    Cancels Order          Buys Contract            Sells Contract      (Iceberg Order)               Mid−Price                Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 57 of 115 PageID #:4315                                                                                  #30
                                                                                  November 22, 2010 − 1.040 mins − Gold
           Sell Side: Chanu
1,358.00
                                                                 [2] 53
                                                                      orders to sell 530 total contracts ($71,938,800)
                                                                 Orders are up to 83.9% of visible order book
                         C 10
1,357.90                                                         Active for 3.802 seconds on average (shortest 0.624 seconds)
                                                                                                                                              [4] Cancels   all 530 sell contracts

                         C 10
1,357.80


                         C 2x10
1,357.70


                           C 10                                                                                                                               C 2x10
1,357.60


                          C 4x10                                                                                                                              C 2x10
1,357.50


                            C 6x10                                                                                                                               C 10
1,357.40


                                C 12x10                                                                                                                         C 3x10
1,357.30
                                                                                                                                                                                                              C (2)
                                                                                                                                                                   C 8x10
1,357.20


                                                                                                                                                                     C 10x10
1,357.10
                                                                                                                                                                                                C (9)

1,357.00

                        [1] (Iceberg)   order to buy 40 contracts ($5,427,820)
1,356.90
               C (40)
                                                                                                                [3] Buys   31 contracts while sell orders active                     [5] Buysfinal 9 contracts at
1,356.80
           Buy Side: Chanu                                                                                                                                                           higher prices


            04:38:40.0                       04:38:50.0                    04:39:00.0                   04:39:10.0                    04:39:20.0                      04:39:30.0                  04:39:40.0

           ●     Places Order              Modifies Order    ●    Cancels Order         Buys Contract            Sells Contract       (Iceberg Order)                Mid−Price             Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 58 of 115 PageID #:4316                                                                                       #31
                                                                                    December 17, 2010 − 4.720 mins − Gold
           Sell Side: Chanu
1,375.80
                [2] 109
                      orders to sell 1,090 total contracts ($149,882,000)                             [5] Cancels   all 1,090 sell contracts
                Active for 3.733 seconds on average (shortest 0.712 seconds)
1,375.70


1,375.60

                                                                                                                                                     C 10                      C 10
1,375.50

                  C 10            C 10                                                                                                               C 10                      C 10
1,375.40

                  C 10        C 2x10                  C 2x10                                                                                        C 2x10
1,375.30

                 C 4x10                               C 2x10                                                                                        C 3x10                  C 4x10
1,375.20

                 C 4x10            C 10               C 3x10                                                                                        C 3x10                  C 12x10
1,375.10

                   C 10       C 10x10                 C 9x10                                                                                        C 14x10
1,375.00

                 C 10x10                                  C 9x10                                                                                      C 7x10
1,374.90


1,374.80
                                                                                                                                                               C (65)
1,374.70
            C (180)
1,374.60
                                                                       [3] Buys    115 contracts (77 while sell orders active)                                C (66)
1,374.50
                                                 [1] (Iceberg)
                                                             order to buy 180                                                                                   [4] Buys final 65 contracts at higher
1,374.40                                         contracts ($24,744,600)                                                                                        price

1,374.30
           Buy Side: Chanu


                     07:43:20.0                           07:44:10.0                       07:45:00.0                          07:45:50.0                         07:46:40.0                     07:47:30.0

           ●   Places Order              Modifies Order        ●   Cancels Order             Buys Contract             Sells Contract       (Iceberg Order)               Mid−Price              Bid−Offer Spread
                                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 59 of 115 PageID #:4317                                                                           #32
                                                                                          February 01, 2011 − 1.370 mins − Silver
            Sell Side: Chanu
28.245
                                                                              [3] Sells
                                                                                      11 contracts total
                  [1] (Iceberg)
                              order to sell 35
                  contracts ($4,940,250)                                      (all while buy orders active)
28.240

                                                                                                                                                                                                          C (24)
28.235

                 C (35)
28.230


28.225


28.220
                                           C 2x10
28.215
                                               C 2x10                                                                                                                 C 7x10
28.210
                                         C 7x10                                                                   C 7x10                                           C 5x10
28.205
                                        C 2x10                                                                    C 2x10                                           C 4x10
28.200
                                      C 9x10                                                                    C 6x10                                         C 2x10
28.195
                                  C 3x10                                                                       C 4x10                                              C 10
28.190
                                  C 2x10                                                                       C 2x10                                              C 10
28.185
                                  C 2x10                                                                       C 10
28.180
                                  C 10                                                                         C 10
                             [2] 75
                                  orders to buy 750 total contracts ($105,759,000)
28.175
                             Orders are up to 89.6% of visible order book                                  C 2x10                                    [4] Cancels   all 750 buy contracts
                             Active for 3.848 seconds on average (shortest 0.549 seconds)
28.170
            Buy Side: Chanu


         05:54:20.0                                         05:54:40.0                                   05:55:00.0                                   05:55:20.0                             05:55:40.0

             ●     Places Order                Modifies Order      ●     Cancels Order         Buys Contract             Sells Contract   (Iceberg Order)                 Mid−Price        Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 60 of 115 PageID #:4318                                                                      #32a
                                                                               February 01, 2011 − 4.500 mins − Silver
         Sell Side: Chanu
28.250


28.245

             C (35)
28.240

                                                                                                                                                                                              C (24)
28.235

                                                                                                                                         C (35)
28.230                                            [1]
                                                    (Iceberg) order to sell 35
                                                  contracts ($4,942,000)
28.225


28.220
                                                                                                                                                 C 2x10
28.215
                                                                                                                                                 C 2x10                         C 7x10
28.210
                                                                                                                                                C 7x10                C 7x10   C 5x10
28.205
                                                                                                                                                C 2x10                C 2x10   C 4x10
28.200
                                                                                                                                               C 9x10             C 6x10       C 2x10
28.195
                                                                                                                                               C 3x10             C 4x10        C 10
28.190
                                                                                                                                               C 2x10             C 2x10       C 10
28.185
                                                                                                                                               C 2x10                 C 10
28.180
                                                                                                                                               C 10                   C 10
28.175
                                                                                                                                                                 C 2x10
28.170
         Buy Side: Chanu


                              05:51:40.0                       05:52:30.0                      05:53:20.0                    05:54:10.0                         05:55:00.0                        05:55:50.0

         ●     Places Order            Modifies Order      ●   Cancels Order        Buys Contract           Sells Contract   (Iceberg Order)              Mid−Price            Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 61 of 115 PageID #:4319                                                                              #33g
                                                                                   March 16, 2011 − 1.940 mins − Gold                                                               Chat: Government Exhibit 61
           Sell Side: Vorley
1,399.90

                                               [2] (Iceberg)
                                                           order to sell 56
                                               contracts ($7,837,760)

1,399.80                                                                                                [4] Sells
                                                                                                               37 contracts (15
                                                                                                        while buy orders active)



1,399.70



                                                                                                                                                       [6] Sells
                                                                                                                                                               final 19
                                                                                        V (56)
1,399.60                                                                                                                                               contracts



                                                                                                      V (19)
1,399.50
                                                                                        V 10x10



1,399.40
               V (50)



1,399.30                    [1] Buys6
                            contracts                                                      V 2x10



1,399.20
                                                                                                               [3] 12
                                                                                                                    orders to buy 120 total contracts ($16,793,600)
                                                                                                               Orders are up to 50.6% of visible order book
                                                                                                               Active for 1.158 seconds on average (shortest 0.367 seconds)
                                                                                                                                                  [5] Cancels      all 120 buy contracts
1,399.10
           Buy Side: Vorley


                         06:02:40.0                      06:03:00.0                  06:03:20.0                         06:03:40.0                         06:04:00.0                      06:04:20.0

           ●     Places Order           Modifies Order         ●   Cancels Order      Buys Contract            Sells Contract        (Iceberg Order)                    Mid−Price            Bid−Offer Spread
                                               Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 62 of 115 PageID #:4320                                                             #33ga
                                                                                   March 16, 2011 − 8.900 mins − Gold                                                     Chat: Government Exhibit 61
           Sell Side: Vorley
1,400.60


1,400.50


1,400.40

                                                                                                                                                                            [11] Sells   final 20 contracts
1,400.30


1,400.20                                                                                                                                                           [9] Sells
                                                                                                                                                                          30 contracts
                                                                                                                                                                   (25 while buy orders active)
1,400.10


1,400.00


1,399.90

                                                                                                                                                                                         V (50)         V (20)
1,399.80
                                                                                                                        [7] (Iceberg)
                                                                                                                                    order to sell 50
                                                                                                                        contracts ($6,999,000)
1,399.70
                                                                                                                                                                                         V 8x10
                                 V (56)
1,399.60
                                                                                                                                                                                         V 2x10 V 5x10
                                    V (19)
1,399.50
                                                                                                                        [8] 15
                                                                                                                             orders to buy 150 total contracts ($20,994,800)
                                V 10x10
                                                                                                                        Orders are up to 51.5% of visible order book
1,399.40                                                                                                                Active for 1.448 seconds on average (shortest 0.597 seconds)
               V (50)
1,399.30                                                                                                                                               [10] Cancels    all 150 buy contracts
                                 V 2x10
1,399.20


1,399.10
           Buy Side: Vorley


                                06:03:20.0                        06:05:00.0                    06:06:40.0                         06:08:20.0                    06:10:00.0                                 06:11:40.0

           ●     Places Order                Modifies Order   ●    Cancels Order      Buys Contract          Sells Contract       (Iceberg Order)          Mid−Price                     Bid−Offer Spread
                                                   Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 63 of 115 PageID #:4321                                                              #33gb
                                                                                       March 16, 2011 − 8.900 mins − Gold                                                      Chat: Government Exhibit 61
             Sell Side: Vorley
1,400.60
                                                                                                                                                 06:10:27 Farthing: jimmy
1,400.50                                                                                                                                         06:10:30 Farthing: give you 1k more pls
                                                                                                                                                 06:10:33 Farthing: plat
                                                                                                                                                 06:10:41 Farthing: and another 5k gold
1,400.40                                                                                                                                         06:10:44 Vorley: sure
               06:01:56 Farthing: geezer                                                                                                         06:10:45 Farthing: and 1 lac silevr
               06:02:01 Farthing: can i give you 1k plat pls                                                                                     06:10:55 Farthing am too tired to think it though any mroe
1,400.30
               06:02:09 Farthing: and 5k gold
               06:02:23 Farthing: BUZZ!!!
1,400.20       06:02:24 Vorley: n
               06:02:28 Vorley: yep
1,400.10       06:02:45 Vorley: 11
               06:02:50 Vorley: and 99.something
               06:02:54 Farthing: i am selling both
1,400.00       06:03:01 Farthing: right ?
               06:03:10 Farthing: BUZZ!!!
               06:03:14 Vorley: yep
1,399.90
               06:03:47 Farthing: you knew that aal; along right ?
                                                                                                                                                                                         V (50)         V (20)
1,399.80


1,399.70
                                                                                                                                                                                         V 8x10
                                     V (56)
1,399.60
                                                                                                                                                                                         V 2x10 V 5x10
                                        V (19)
1,399.50
                                    V 10x10
1,399.40
                  V (50)
1,399.30
                                     V 2x10                                                                                                                                     06:11:32 Vorley: all done
                                                          06:04:51 Vorley: 99:56                                                                                                06:11:38 Vorley: 10
1,399.20                                                  06:04:58 Vorley: spoofing it up                                                                                       06:11:42 Vorley: 38
                                                          06:05:03 Vorley: ahem ahem                                                                                            06:11:46 Vorley: 99.8
1,399.10                                                  06:05:09 Farthing: hehecheers mate
             Buy Side: Vorley

           06:02:24                06:03:14                         06:04:51                                                                                                          06:10:44              06:11:32
                                    06:03:20.0                        06:05:00.0                         06:06:40.0                    06:08:20.0                        06:10:00.0                           06:11:40.0

              ●     Places Order                 Modifies Order    ●   Cancels Order           Buys Contract          Sells Contract   (Iceberg Order)             Mid−Price             Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 64 of 115 PageID #:4322                                                                   #33s
                                                                                  March 16, 2011 − 15.850 secs − Silver                                                   Chat: Government Exhibit 61
         Sell Side: Vorley
34.400

                                                                                                                           After first buy order placed, 0.443 seconds until next sell order fill
                                                                                                                           First buy order cancelation 0.390 seconds after last sell order fill
34.395




34.390

                      [1] (Iceberg)   order to sell 20 contracts ($3,438,000)                                                                   [4] Sells
                                                                                                                                                       final 16 contracts while
                                                                                                                                                buy orders active
34.385

                                                                   [2] Sells   4 contracts
             V (20)
34.380




34.375
                                                                                                                                                                           V 5x10


34.370
                                                                                                                                                               V 2x10


34.365
                                                                                                                                                             V 10


34.360                                                                                                                      [3] 8
                                                                                                                                orders to buy 80 total contracts ($13,749,000)
                                                                                                                            Orders are up to 74.1% of visible order book
                                                                                                                            Active for 1.657 seconds on average (shortest 0.583 seconds)

                                                                                                                                                            [5] Cancels   all 80 buy contracts
34.355
         Buy Side: Vorley


         06:11:05.0                                                 06:11:10.0                                            06:11:15.0                                                 06:11:20.0

         ●     Places Order              Modifies Order    ●   Cancels Order             Buys Contract   Sells Contract       (Iceberg Order)               Mid−Price               Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 65 of 115 PageID #:4323                                                  #33sa
                                                                            March 16, 2011 − 15.850 secs − Silver                                    Chat: Government Exhibit 61
         Sell Side: Vorley
34.400

                  06:10:27 Farthing: jimmy
                  06:10:30 Farthing: give you 1k more pls
                  06:10:33 Farthing: plat
34.395
                  06:10:41 Farthing: and another 5k gold
                  06:10:44 Vorley: sure
                  06:10:45 Farthing: and 1 lac silevr
                  06:10:55 Farthing am too tired to think it though any mroe
34.390




34.385



             V (20)
34.380




34.375
                                                                                                                                                     V 5x10


34.370
                                                                                                                                          V 2x10


34.365
                                                                                                                                        V 10

                                                                                                                                                   06:11:32 Vorley: all done
34.360                                                                                                                                             06:11:38 Vorley: 10
                                                                                                                                                   06:11:42 Vorley: 38
                                                                                                                                                   06:11:46 Vorley: 99.8

34.355
         Buy Side: Vorley


         06:11:05.0                                            06:11:10.0                                        06:11:15.0                                    06:11:20.0

         ●     Places Order         Modifies Order    ●   Cancels Order         Buys Contract   Sells Contract       (Iceberg Order)   Mid−Price              Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 66 of 115 PageID #:4324                                                                             #34
                                                                                   April 05, 2011 − 44.380 secs − Gold
           Sell Side: Liew
1,456.20




                [1] (Iceberg)   order to sell 40 contracts ($5,823,200)                                                                                  L (28)
1,456.10

                                                                                                [3] Sells
                                                                                                        11 contracts while buy orders
                                                                                                active and 1 contract 0.224 seconds after
                                                                                                buy orders canceled
               L (40)
1,456.00




1,455.90
                                                                                                 L 100                         L 100




1,455.80



                                                                                                                        [2] 2 orders to buy 200 total contracts ($29,118,000)

                                                                                                                        Orders are up to 63.7% of visible order book
                                                                                                                        Active for 0.791 seconds on average
1,455.70
                                                                                                                                                  [4] Cancels   all 200 buy contracts




1,455.60
           Buy Side: Liew


                                       18:40:50.0                               18:41:00.0                              18:41:10.0                                     18:41:20.0                          18:41:30.0

           ●     Places Order             Modifies Order    ●   Cancels Order           Buys Contract         Sells Contract         (Iceberg Order)                 Mid−Price          Bid−Offer Spread
                                               Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 67 of 115 PageID #:4325                                                                                    #34a
                                                                                  April 05, 2011 − 4.330 mins − Gold
           Sell Side: Liew
1,456.20


                                                                                                                                   L (40)                         L (28)         L (17)   L (7)
1,456.10


                                                                                                                                       L (40)
1,456.00
                                                                                                                                                                                               [5] Sells   21 contracts

1,455.90
                                                                                                                                                        L 2x100
               L (40)                                                                                                                                                      L (28)
1,455.80



1,455.70


                                                                                                                                                                                     L (17)
1,455.60



1,455.50



1,455.40



1,455.30



1,455.20                                                                                                                                                              [6] Sells
                                                                                                                                                                             final 7 contracts at
                                                                                                                                                                      lower price
                                                                                                                                                                                                                   L (7)
1,455.10



1,455.00
           Buy Side: Liew


                                18:38:20.0                        18:39:10.0                         18:40:00.0                             18:40:50.0                            18:41:40.0

           ●     Places Order                Modifies Order   ●   Cancels Order      Buys Contract                Sells Contract      (Iceberg Order)                Mid−Price                  Bid−Offer Spread
                                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 68 of 115 PageID #:4326                                                                              #35
                                                                                          April 20, 2011 − 1.080 mins − Gold
           Sell Side: Chanu
1,502.00
                                                                                                                                                                          [4] Sells
                                                                                                                                                                                  final 19 contracts while buy
                                [1] (Iceberg)
                                                                                                                                                                          orders active
                                                order to sell 20 contracts ($3,003,600)
1,501.90                                                                                                                                   [2] Sells   1 contract



               C (20)
1,501.80




1,501.70
                                                                                                                                                                                                    C 5x10



1,501.60
                                                                                                                                                                                                   C 4x10



1,501.50
                                                                                                             [3] 16
                                                                                                                                                                                              C 3x10
                                                                                                                  orders to buy 160 total contracts ($24,024,900)
                                                                                                             Orders are up to 62.7% of visible order book
                                                                                                             Active for 3.179 seconds on average (shortest 0.792 seconds)
1,501.40                                                                                                                                    [5] Cancels    all 160 buy contracts
                                                                                                                                                                                             C 3x10



1,501.30
                                                                                                                                                                                              C 10
                                                                                                     After first buy order placed, 2.411 seconds until next sell order fill
                                                                                                     First buy order cancellation 1.246 seconds after last sell order fill


1,501.20
           Buy Side: Chanu


                                     01:42:00.0                   01:42:10.0                 01:42:20.0                    01:42:30.0                     01:42:40.0                  01:42:50.0                  01:43:00.0

           ●     Places Order                   Modifies Order    ●   Cancels Order          Buys Contract            Sells Contract    (Iceberg Order)                Mid−Price               Bid−Offer Spread
                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 69 of 115 PageID #:4327                                                                       #35a
                                                                              April 20, 2011 − 3.080 mins − Gold
           Sell Side: Chanu
1,502.00




1,501.90




               C (20)
1,501.80




1,501.70
                                                                      C 5x10



1,501.60
                                                                     C 4x10



1,501.50
                                                                    C 3x10



1,501.40
                                                                    C 3x10



1,501.30
                                                                     C 10



1,501.20
           Buy Side: Chanu


                                          01:42:30.0                                         01:43:20.0                                      01:44:10.0                                  01:45:00.0

           ●     Places Order   Modifies Order         ●   Cancels Order         Buys Contract            Sells Contract   (Iceberg Order)                Mid−Price   Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 70 of 115 PageID #:4328                                                                             #36
                                                                             May 05, 2011 − 10.660 secs − Silver
         Sell Side: Vorley
38.850




38.845                                                                                              After first buy order placed, 0.203 seconds until next sell order fill
                                                                                                    First buy order cancellation 0.316 seconds after last sell order fill


             [1] (Iceberg)
                         order to sell 15                                                           [3] Sells   all 15 contracts while buy orders active
38.840       contracts ($2,912,625)



             V (15)
38.835




38.830
                                                                                                                                               V 7x10



38.825
                                                                                                                          V 4x10



38.820
                                                                                                          V 4x10



38.815
                                                                              [2] 15
                                                                                   orders to buy 150 total contracts ($29,119,500)
                                                                              Orders are up to 54.3% of visible order book
                                                                              Active for 2.445 seconds on average (shortest 0.488 seconds)              [4] Cancels   all 150 buy contracts
38.810
         Buy Side: Vorley


                                    02:35:26.0                       02:35:28.0                    02:35:30.0                             02:35:32.0                        02:35:34.0

         ●     Places Order          Modifies Order   ●   Cancels Order            Buys Contract       Sells Contract       (Iceberg Orders)              Mid−Price                Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 71 of 115 PageID #:4329                                             #36a
                                                                               May 05, 2011 − 1.390 mins − Silver
         Sell Side: Vorley
38.855


38.840       V (15)

38.825                        V 7x10
                          V 8x10
38.810


38.795


38.780


38.765


38.750


38.735


38.720


38.705


38.690


38.675


38.660


38.645


38.630


38.615
         Buy Side: Vorley


                                              02:35:40.0                            02:36:00.0                         02:36:20.0                02:36:40.0

         ●     Places Order            Modifies Order      ●   Cancels Order      Buys Contract   Sells Contract   (Iceberg Order)   Mid−Price       Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 72 of 115 PageID #:4330                                                                                  #37
                                                                                          May 09, 2011 − 30.000 secs − Gold
           Sell Side: Liew
1,512.10       [1] (Iceberg) order to sell 77 contracts ($11,642,400)
                                                                                      [4] Sells   24 contracts (23 while buy orders active)
               Placed at 19:13:21.630, with 62 contracts remaining
                                [2] Sells   4 contracts
            L(62/77)
1,512.00




1,511.90
                                                           L 2x20                                                                                                   L 2x20


1,511.80
                                                                                                                                                        L 2x20


1,511.70
                                                                                                                                              L 2x20


1,511.60




1,511.50
                                                          [3] 8
                                                              orders to buy 160 total contracts ($24,189,200)
                                                          Orders are up to 82.8% of visible order book
                                                          Active for 2.724 seconds on average (shortest 1.054 seconds)
                                                                                                                                           [5] Cancels      all 160 buy contracts
1,511.40




1,511.30




1,511.20
           Buy Side: Liew


            19:13:25.0                      19:13:30.0                          19:13:35.0                        19:13:40.0                  19:13:45.0                        19:13:50.0                 19:13:55.0

           ●    Places Order           Modifies Order             ●   Cancels Order               Buys Contract          Sells Contract   (Iceberg Order)                 Mid−Price          Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 73 of 115 PageID #:4331                                                                      #37a
                                                                                      May 09, 2011 − 1.140 mins − Gold
           Sell Side: Liew
                                [1](Iceberg) order to sell 80
1,512.40
                                total contracts ($12,097,600)

               L (80)
                                [2]   Sells 18 contracts
1,512.20



1,512.00        L (77)
                                                                                                                       L (34)
                                                     L 2x20                                   L 2x20
1,511.80
                                                                                         L 2x20
                                                                                      L 2x20
1,511.60



1,511.40



1,511.20



1,511.00



1,510.80



1,510.60


                                                                                                                                                                                  L (34)
1,510.40


                                                                                                                  [3] Sells
                                                                                                                          additional 30 contracts at lower
1,510.20                                                                                                          price and cancels final 4 contracts
           Buy Side: Liew


                 19:13:20.0                  19:13:30.0                  19:13:40.0                19:13:50.0                    19:14:00.0              19:14:10.0         19:14:20.0

           ●     Places Order            Modifies Order       ●   Cancels Order         Buys Contract           Sells Contract         (Iceberg Order)          Mid−Price       Bid−Offer Spread
                                        Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 74 of 115 PageID #:4332                                                                                 #38
                                                                              May 11, 2011 − 1.360 mins − Silver
         Sell Side: Chanu
35.455                                                                                    [2] 14
                                                                                               orders to sell 140 total contracts ($24,797,000)
                                                                                          Orders are up to 92.6% of visible order book
                                                                                          Active for 5.148 seconds on average (shortest 1.397 seconds)                           C 10
35.450
                                                                                                       [5] Cancels       97.9% of sell contracts (137 of 140)
                                                                                                                                                                                 C 10
35.445


                                                                                                                                                                                 C 10
35.440



35.435


                                                                                                                                                                                 C 10
35.430


                                                                                                                                                                                 C 2x10
35.425


                                                                                                                                                                                 C 3x10
35.420


                                                                                                                                                                                   C 3x10
35.415


                                                                                                                                                                                    C 2x10
35.410

                                                                                                                                         [4] 3   contracts filled
35.405
             C (5)

35.400                [1] (Iceberg)order to buy                                                                            [3] Buys
                      5 contracts ($885,125)                                                                                          all 5 contracts while sell orders active

35.395
         Buy Side: Chanu


                       20:56:20.0                                20:56:40.0                               20:57:00.0                                                20:57:20.0

         ●    Places Order            Modifies Order   ●   Cancels Order         Buys Contract          Sells Contract          (Iceberg Order)                     Mid−Price           Bid−Offer Spread
                                    Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 75 of 115 PageID #:4333                                                                 #38a
                                                                       May 11, 2011 − 1.590 mins − Silver
         Sell Side: Chanu
35.455
                                                                                                                                             C 14x10

35.445



35.435



35.425



35.415



35.405
             C (5)


35.395


                                                                                                                                                                                C (3)
35.385



35.375



35.365



35.355


         Buy Side: Chanu


                     20:56:20.0                    20:56:40.0                             20:57:00.0                            20:57:20.0                    20:57:40.0

         ●    Places Order        Modifies Order   ●   Cancels Order      Buys Contract                Sells Contract   (Iceberg Order)           Mid−Price         Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 76 of 115 PageID #:4334                                                             #38b
                                                                            May 11, 2011 − 1.360 mins − Silver
         Sell Side: Chanu
35.455


                                                                                                                                                           C 10
35.450


                                                                                                                                                           C 10
35.445


                                                                                                                                                           C 10
35.440



35.435


                                                                                                                                                           C 10
35.430


                                                                                                                                                           C 2x10
35.425


                                                                                                                                                           C 3x10
35.420


                                                                                                                                                             C 3x10
35.415


                                                                                                                                                               C 2x10
35.410



35.405
             C (5)

35.400


                                                                                                                                  Trades 1 contract with   Trades 1 contract with
35.395                                                                                                                            Q1P at 20:57:29.151      Q1P at 20:57:30.888
         Buy Side: Chanu


                       20:56:20.0                              20:56:40.0                        20:57:00.0                               20:57:20.0

         ●    Places Order          Modifies Order   ●   Cancels Order         Buys Contract   Sells Contract   (Iceberg Order)           Mid−Price               Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 77 of 115 PageID #:4335                                                                                              #39
                                                                                           July 13, 2011 − 6.690 secs − Silver
         Sell Side: Vorley
37.025



                                                                                                                       [6] Sells   final 9 contracts
37.020              [1] (Iceberg)
                                order to sell 20
                    contracts ($3,701,500)
                                                           [3] Sells11 contracts while buy orders active
                                                           First sale 0.025 seconds after buy order placed

              V (20)
37.015
                                                                                [4] 5
                                                                                   buy contracts filled
                                                                                Order canceled 0.588 seconds after first fill


37.010
                                                 V 3x10




37.005
                                       V 2x10




37.000

                  [2] 5
                      orders to buy 50 total contracts ($9,252,000)
                                                                                                  [5] Cancels   90.0% of buy contracts (45 of 50)
                  Orders are up to 18.6% of visible order book
                  Active for 0.808 seconds on average (shortest 0.335 seconds)
                                                                                                                                                                 [7] Sells
                                                                                                                                                                        5 contracts after 5
                                                                                                                                                                                                                         V5
36.995
                                                                                                                                                                 buy contracts filled




36.990
         Buy Side: Vorley


     06:30:02.0                     06:30:03.0                    06:30:04.0                   06:30:05.0                   06:30:06.0                      06:30:07.0                   06:30:08.0                      06:30:09.0

          ●     Places Order              Modifies Order         ●     Cancels Order           Buys Contract           Sells Contract        (Iceberg Orders)                Mid−Price                Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 78 of 115 PageID #:4336                                                                      #40
                                                                                       August 07, 2011 − 42.030 secs − Gold
                                                                                                                                                                             Chat: Government Exhibit 12B
           Sell Side: Liew
1,702.50
                                                                                             [4] Sells   11 contracts total (all while buy orders active)

                     [1] (Iceberg)   order to sell 50 contracts ($8,511,500)                          L (50)
1,702.40



               L (50)
1,702.30




1,702.20
                                                                   C 7x10                      C 6x10

                                                                                                                                                                    [6] (Iceberg)order to sell final 39
1,702.10                                                                                                                                                            contracts fully filled at 22:46:57.410
                                                            C (100)                 C 9x10
                                                            C 8x10
                                                                                                                                                                                                      L (39)
1,702.00
                                                                                    C 2x10                       C 5x10


1,701.90
                                                                                    C 10                          C 10
            [2] (Iceberg)
                        order to buy 100
            contracts ($17,021,000)
1,701.80    Canceled after 3.759 seconds
                                                                                    C 10


1,701.70              [3] 40
                           orders to buy 400 total contracts ($68,083,900)
                                                                                                   [5] Cancels
                      Orders are up to 81.2% of visible order book                                               all 400 buy contracts
                      Active for 2.609 seconds on average (shortest 0.494 seconds)

1,701.60




1,701.50
           Buy Side: Chanu


                          22:46:00.0                                    22:46:10.0                                    22:46:20.0                            22:46:30.0                                    22:46:40.0

           ●     Places Order              Modifies Order      ●    Cancels Order            Buys Contract             Sells Contract    (Iceberg Order)        Mid−Price              Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 79 of 115 PageID #:4337                                                                 #40a
                                                                                   August 07, 2011 − 42.030 secs − Gold
                                                                                                                                                                     Chat: Government Exhibit 12B
           Sell Side: Liew
1,702.50



                                                                                                  L (50)
1,702.40



               L (50)
1,702.30




1,702.20
                                                               C 7x10                      C 6x10


1,702.10
                                                        C (100)                 C 9x10
                                                        C 8x10
                                                                                                                                                                                            L (39)
1,702.00
                                                                                C 2x10                     C 5x10


1,701.90
                    22:38:28 Chanu: we long 20k?                                C 10                       C 10
                    22:38:43 Liew: yeah
                    22:38:49 Liew: so we job that
1,701.80            22:38:51 Liew: get ready
                    [...]                                                       C 10
                    22:38:59 Chanu: go on maestro
                    [...]
1,701.70            22:42:57 Liew: i should job it here right
                    22:42:59 Liew: u think?
                    22:43:03 Chanu: yup
                    22:43:05 Chanu: sell 10k here
1,701.60            22:43:12 Chanu: i ll help you                                                                                    22:46:25 Liew: u be careful sweetie
                    22:43:26 Liew: too close to 1700 though                                                                          22:46:28 Liew: dun get given here
                                                                                                                                     22:46:29 Liew: lol

1,701.50
           Buy Side: Chanu
                                                                                                                                   22:46:25
                          22:46:00.0                                22:46:10.0                                22:46:20.0                             22:46:30.0                                 22:46:40.0

           ●     Places Order          Modifies Order      ●    Cancels Order            Buys Contract        Sells Contract   (Iceberg Order)           Mid−Price           Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 80 of 115 PageID #:4338                                                                                #41
                                                                                  August 07, 2011 − 40.990 secs − Gold
           Sell Side: Liew
                                [1] (Iceberg)
1,703.50                                    order to sell 50                                                                  [3] Sells   16 contracts while buy orders active
                                contracts ($8,517,000)

               L (50)
1,703.40




1,703.30




1,703.20
                                                                                                           C 5x10

                                                                                                                                                                                          L (34)
1,703.10
                                                    C 6x10                        C 6x10                 C 6x10                                       C 6x10


1,703.00
                                                  C 4x10                         C 2x10


1,702.90
                                                C 4x10                           C 10


1,702.80
                                                C 2x10                          C 2x10


1,702.70
                                                C 10                            C 10


1,702.60
                                          C 3x10
                                                               [2] 49
                                                                    orders to buy 490 total contracts (83,447,300)
                                                                                                                                              [4] Cancels   all 490 buy contracts
                                                               Orders are up to 76.9% of visible order book
1,702.50
                                                               Active for 2.845 seconds on average (shortest 0.435 seconds)
           Buy Side: Chanu


                                           23:13:40.0                                     23:13:50.0                                         23:14:00.0                             23:14:10.0

           ●     Places Order          Modifies Order      ●    Cancels Order            Buys Contract            Sells Contract          (Iceberg Order)               Mid−Price       Bid−Offer Spread
                                    Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 81 of 115 PageID #:4339                                                                                  #41a
                                                                           August 07, 2011 − 4.570 mins − Gold
           Sell Side: Liew
1,703.50
               L (50)

1,703.30

                                L (2x34)                                                                                                                                     [9] Sells
1,703.10                                                                                                                                                                                 final 5 contracts

                                                                                                                                      [7] Sells   7 contracts while buy orders active
1,702.90                                                    [5] Sells   22 contracts


1,702.70
                                                                  L (12)
                 C 49x10                                     L (34)
1,702.50



1,702.30


                                                                                                                                                                                  C 13x10
1,702.10
                                                                                                                                                                                   C 2x10
                                                                                                                                                                                    C 10
1,701.90
                                                                                                                                                                                    C 10

1,701.70

                                                                                                                            [6] 17
                                                                                                                                 orders to buy 170 total contracts ($28,939,300)
1,701.50                                                                                                                    Orders are up to 64.2% of visible order book
                                                                                                                            Active for 2.557 seconds on average (shortest 0.498 seconds)

1,701.30                                                                                                                                                       [8] Cancels   all 170 buy contracts


1,701.10



1,700.90
           Buy Side: Chanu


                                23:14:10.0                    23:15:00.0                         23:15:50.0                      23:16:40.0                           23:17:30.0

           ●     Places Order     Modifies Order   ●   Cancels Order             Buys Contract          Sells Contract   (Iceberg Order)                  Mid−Price                  Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 82 of 115 PageID #:4340                                                                                  #42
                                                                                       August 08, 2011 − 7.410 secs − Silver
         Sell Side: Vorley
39.940
                              [1] (Iceberg)
                                         order to sell 20 contracts
                              ($3,993,500)
                                       [2] Sells   5 contracts
                                                                                                           [4] Sells   12 contracts while buy orders active

             V (20)
39.935




39.930
                                                                                                                           V 10 V 10 V 10 V 10




39.925
                                                                                                           V 10 V 10 V 10




39.920
                                                                                                 V 10



                                                                 [3] 8
                                                                     orders to buy 80 total contracts ($15,970,750)
                                                                 Orders are up to 74.1% of visible order book
                                                                                                                                                   [5] Cancels   all 80 buy contracts
                                                                 Active for 1.247 seconds on average (shortest 0.422 seconds)

39.915
         Buy Side: Vorley


                      04:17:50.0                                              04:17:52.0                                    04:17:54.0                                            04:17:56.0

         ●     Places Order              Modifies Order          ●   Cancels Order         Buys Contract        Sells Contract       (Iceberg Order)                  Mid−Price                Bid−Offer Spread
                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 83 of 115 PageID #:4341                                                                         #42a
                                                                         August 08, 2011 − 11.290 secs − Silver
         Sell Side: Vorley
39.965



39.960



39.955



39.950



39.945



39.940


             V (20)
39.935



39.930
                                                                             V 4x10

39.925
                                                                    V 3x10

39.920
                                                           V 10

                                                                                                                                                  [6] Sells
                                                                                                                                                          final 3 contracts               V (3)
39.915
                                                                                                                                                  at lower price


39.910
         Buy Side: Vorley


                  04:17:50.0                04:17:52.0                       04:17:54.0              04:17:56.0                      04:17:58.0                       04:18:00.0

         ●     Places Order    Modifies Order      ●     Cancels Order          Buys Contract   Sells Contract    (Iceberg Orders)            Mid−Price                Bid−Offer Spread
                                                    Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 84 of 115 PageID #:4342                                                                            #43
                                                                                        August 09, 2011 − 18.450 secs − Gold
              Sell Side: Liew
1,754.80
                                                                                                                                           Buy order placed 7.219 seconds after sell order
                                                                                                                                           After buy order placed, 0.008 seconds until next sell order fill
                                                                                                                                           Buy order canceled 0.740 seconds after last sell order fill

1,754.70


                                    [1] (Iceberg)
                                                order to sell
                                    30 contracts ($5,263,500)

1,754.60

                                                                                       [2] Sells   7 contracts


                   L (30)
1,754.50
                                                                                                                                                                          [5] Sells
                                                                                                                                                                                 final 12 contracts
                                                                                                                                                                          while buy order active


1,754.40
                                                                                                                                         [3] Sells   11 contracts



                                                                                                                                L (23)
1,754.30




1,754.20
                                                                                                                                                                                                      C 50

                                                                                                                                            [4] Orderto buy 50 contracts ($8,771,000)
                                                                                                                                            Order is 70.4% of visible order book               [6] Cancels
                                                                                                                                                                                                         all 50
                                                                                                                                            Active for 0.748 seconds                           buy contracts
1,754.10
              Buy Side: Chanu


           19:59:00.0                                            19:59:05.0                                        19:59:10.0                                        19:59:15.0

               ●     Places Order               Modifies Order     ●   Cancels Order               Buys Contract        Sells Contract        (Iceberg Orders)          Mid−Price             Bid−Offer Spread
                                   Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 85 of 115 PageID #:4343                                                           #43a
                                                                           August 09, 2011 − 46.460 secs − Gold
           Sell Side: Liew
1,754.80



1,754.60
                L (30)

1,754.40
                                                  L (23)

1,754.20
                                                                             C 50

1,754.00



1,753.80



1,753.60



1,753.40



1,753.20



1,753.00



1,752.80



1,752.60
           Buy Side: Chanu


           19:59:00.0                       19:59:10.0                          19:59:20.0                      19:59:30.0                      19:59:40.0

            ●     Places Order   Modifies Order      ●     Cancels Order       Buys Contract   Sells Contract     (Iceberg Order)   Mid−Price                Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 86 of 115 PageID #:4344                                                                             #44
                                                                                   August 10, 2011 − 3.570 secs − Silver
          Sell Side: Vorley
38.385                                                                                          First buy order placed 0.798 seconds after sell order
                                                                                                After first buy order placed, 0.601 seconds until next sell order fill
                                                            [3] Sells
                                                                   all 14 contracts
38.380                                                      while buy orders active
                    [1] (Iceberg)
                                order to sell 14
                    contracts ($2,685,900)

38.375



               V (14)
38.370




38.365




38.360
                                                                                                         V 10


38.355
                                                                                       V 10


38.350
                                                                   V 10         V 10


38.345




38.340
                                                         V 10
                                      [2] 5
                                          orders to buy 50 total contracts ($9,587,750)
                                      Orders are up to 69.4% of visible order book                                                                           [4] Cancels   all 50 buy contracts
38.335
                                      Active for 1.826 seconds on average (shortest 0.876 seconds)
          Buy Side: Vorley


         06:26:47.0                 06:26:47.5               06:26:48.0                06:26:48.5                06:26:49.0                06:26:49.5            06:26:50.0                 06:26:50.5

           ●     Places Order           Modifies Order     ●    Cancels Order           Buys Contract           Sells Contract    (Iceberg Orders)           Mid−Price               Bid−Offer Spread
                                  Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 87 of 115 PageID #:4345                                                     #44a
                                                                        August 10, 2011 − 1.550 mins − Silver
         Sell Side: Vorley
38.385


38.380


38.375

             V (14)
38.370


38.365


38.360
                 V 10

38.355
                V 10

38.350
               V
               V 10
                 10

38.345


38.340
              V 10

38.335


38.330


38.325


38.320


38.315
         Buy Side: Vorley


                              06:27:00.0                             06:27:20.0                         06:27:40.0                     06:28:00.0                   06:28:20.0

         ●     Places Order     Modifies Order   ●   Cancels Order                Buys Contract   Sells Contract     (Iceberg Order)      Mid−Price   Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 88 of 115 PageID #:4346                                                                                       #45
                                                                                     August 10, 2011 − 25.560 secs − Silver
         Sell Side: Vorley         [1] (Iceberg)
38.390                                         order to sell 20
                                   contracts ($3,838,500)
             V (20)
38.385


38.380
                                                                    [3] Sells   9 contracts while buy orders active
                                                                                                                                             After buy order placed, 0.026 seconds until next sell order fill
38.375
                                                                                                                                             Buy order canceled 0.883 seconds after last sell order fill

38.370
                                   V 10                                              V 10

38.365
                            V 2x10

38.360                                                                                                                                                                      [7] Sells
                                                                                                                                                                                   final 4 contracts
                                                                                   V 10                                                                                     while buy order active

38.355                                                                                                                                                         [5] Sells   7 contracts
                        V 2x10                                                    V 10

38.350

                                                                                                                                                          V (11)
38.345


38.340   [2] 8
             orders to buy 80 total contracts ($15,344,750)
         Orders are up to 73.5% of visible order book
                                                                                       [4] Cancels   all 80 buy contracts
38.335
         Active for 3.016 seconds on average (shortest 0.807 seconds)
                                                                                                                                                                                                        V 10

38.330


                                                                                                                                  Order to buy 10 contracts ($1,916,750)
                                                                                                                                [6]
38.325
                                                                                                                                Order is 30.3% of visible order book
                                                                                                                                Active for 1.105 seconds
38.320                                                                                                                                                                             [8] Cancels   all 10 buy contracts
         Buy Side: Vorley


                      06:39:40.0                           06:39:45.0                            06:39:50.0                           06:39:55.0                            06:40:00.0                              06:40:05.0

         ●       Places Order             Modifies Order     ●    Cancels Order             Buys Contract           Sells Contract      (Iceberg Order)             Mid−Price                    Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 89 of 115 PageID #:4347                                                                          #46
                                                                                   September 20, 2011 − 1.930 mins − Gold
           Sell Side: Chanu                                                                                [2] 2
1,775.00                                                                                                       orders to sell 210 total contracts ($37,266,600)
                                                                                                           Orders are up to 70.5% of visible order book
                                                                                                           Active for 0.843 seconds on average (shortest 0.790 seconds)

1,774.90
                                                                                                                                                                        [4] Cancels   all 210 sell contracts


1,774.80




1,774.70



                                                                                       C 100                                                                                            C 110
1,774.60




1,774.50




1,774.40
               L (30)


1,774.30




1,774.20

             [1] (Iceberg)      order to buy 30 contracts ($5,323,200)                                    [3] Buys       30 contracts total (7 while sell orders active)
1,774.10




1,774.00
           Buy Side: Liew


                            00:41:40.0                       00:42:00.0                  00:42:20.0                00:42:40.0                        00:43:00.0                         00:43:20.0

           ●     Places Order               Modifies Order     ●   Cancels Order        Buys Contract   Sells Contract          (Iceberg Order)             Mid−Price                  Bid−Offer Spread
                                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 90 of 115 PageID #:4348                                                                                    #47
                                                                                   September 30, 2011 − 46.110 secs − Gold
           Sell Side: Chanu
1,632.40
                                  [2] 33
                                       orders to sell 420 total contracts ($68,537,500)                                                                                           [4] Cancels   all 420 sell contracts
                                  Orders are up to 84.7% of visible order book                                                                     C 10
1,632.30                          Active for 6.699 seconds on average (shortest 0.827 seconds)

                                                                                                                                                    C 10
1,632.20

                                                                                                    C 100                                           C 10
1,632.10

                                                                                                      C 10                                           C 10
1,632.00

                                                                                                     C 2x10                                         C 2x10
1,631.90

                                                                                                      C 2x10                                         C 3x10
1,631.80

                                                                                                          C 2x10                                      C 3x10
1,631.70

                                                                                                              C 5x10                                    C 8x10
1,631.60


1,631.50


1,631.40


1,631.30


1,631.20


1,631.10
               V (70)
                                [1] (Iceberg)                                                                                         [3] Buys   6 contracts while sell orders active
                                                order to buy 70 contracts ($11,417,700)
1,631.00
           Buy Side: Vorley


                                05:02:20.0                               05:02:30.0                                05:02:40.0                                   05:02:50.0                               05:03:00.0

           ●     Places Order              Modifies Order      ●   Cancels Order          Buys Contract              Sells Contract         (Iceberg Order)               Mid−Price                Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 91 of 115 PageID #:4349                                                                   #47a
                                                                         September 30, 2011 − 6.860 mins − Gold
           Sell Side: Chanu
1,634.00                                                                                                        [6] Buys   final 10 contracts at higher price

1,633.80
                                                                                                                                                                               V (10)
1,633.60


1,633.40


1,633.20


1,633.00


1,632.80


1,632.60


1,632.40
                            C 10                                                  V (64)
                            C
                            C 10
                              10
1,632.20
                        C 100
                            C 10
                         C 10
                           C 2x10
1,632.00
                        C 2x10
                           C 3x10                                                                                   [5] Buys   54 contracts
                        C 2x10
                           C 3x10
1,631.80
                        C 2x10
                           C 8x10
                        C 5x10
1,631.60


1,631.40


1,631.20


1,631.00
               V (70)


1,630.80   Buy Side: Vorley


                                    05:03:20.0                               05:05:00.0                         05:06:40.0                                      05:08:20.0

           ●     Places Order       Modifies Order   ●   Cancels Order         Buys Contract   Sells Contract    (Iceberg Order)               Mid−Price                Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 92 of 115 PageID #:4350                                                                                          #48
                                                                                      October 07, 2011 − 18.490 secs − Gold
           Sell Side: Chanu
1,661.10



1,661.00
                                                                        After buy order placed, 0.011 seconds until next sell order fill
                                                                        Buy order canceled 0.453 seconds after last sell order fill
1,660.90

                                                                                                            C (9)
1,660.80               [1] (Iceberg)   order to sell 61 contracts


1,660.70
                                                                                [4] Sells
                                                                                       4 contracts
                                         [2] Sells   48 contracts               while buy order active
1,660.60                                                                                                                                       [6] Sells   5 contracts
           C(61/61)                                                                                                             C (9)
1,660.50



1,660.40
                                                                                                      L 100

1,660.30
                                                            [3] Orderto buy 100 contracts ($16,604,000) [5] Cancels all 100
                                                            Order is 67.1% of visible order book        buy contracts
1,660.20                                                    Active for 0.630 seconds

                                                                                                                                                                                                                    C (4)
1,660.10

                                                                                                                                                                         [7] Sells   final 4 contracts
1,660.00



1,659.90



1,659.80
           Buy Side: Liew


                 02:45:40.0                                             02:45:45.0                                         02:45:50.0                                                02:45:55.0

           ●   Places Order               Modifies Order       ●    Cancels Order           Buys Contract           Sells Contract      (Iceberg Order)                   Mid−Price                  Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 93 of 115 PageID #:4351                                                                               #49
                                                                                          June 13, 2012 − 38.270 secs − Gold
           Sell Side: Vorley
1,611.70




                            [3] 6
                                orders to sell 60 total contracts ($9,668,200)
                            Orders are up to 40.8% of visible order book
1,611.60
                            Active for 1.255 seconds on average (shortest 0.599 seconds)
                                                                    [5] Cancels   all 60 sell contracts



                        V 10
1,611.50




                       V 2x10
1,611.40




                         V 3x10
1,611.30




1,611.20
               V (30)
                                                         [4] Buys15 contracts
                   [1] (Iceberg)order to buy
                                                         while sell orders active
                   30 contracts
                   ($4,833,600)
                        [2] Buys 4 contracts

                        before sell orders placed
1,611.10
           Buy Side: Vorley


                                                     01:49:00.0                                                01:49:10.0                                      01:49:20.0                             01:49:30.0

           ●     Places Order           Modifies Order        ●      Cancels Order             Buys Contract                Sells Contract   (Iceberg Order)                Mid−Price   Bid−Offer Spread
                                       Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 94 of 115 PageID #:4352                                                                                    #49a
                                                                                  June 13, 2012 − 5.860 mins − Gold
           Sell Side: Vorley
1,612.20



1,612.10
                                                                                                                                                                                                           V (2)

1,612.00



1,611.90



1,611.80

                                                                                                                                                                 [7] Buysfinal 2 contracts at
1,611.70                                                                                                                                                         higher price



1,611.60


                V 10
1,611.50


               V 2x10
1,611.40


               V 3x10
1,611.30



1,611.20
               V (30)
                                                                                       [6] Buys   9 contracts
1,611.10



1,611.00
           Buy Side: Vorley


                        01:49:10.0            01:50:00.0                  01:50:50.0                   01:51:40.0                    01:52:30.0            01:53:20.0              01:54:10.0

           ●     Places Order        Modifies Order        ●   Cancels Order           Buys Contract                Sells Contract       (Iceberg Order)         Mid−Price              Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 95 of 115 PageID #:4353                                                                                #50
                                                                                         July 10, 2012 − 4.720 mins − Gold
           Sell Side: Vorley
1,599.80
                           [1] (Iceberg) order to sell 100

                           contracts ($15,995,000)
1,599.60
            V (100)

1,599.40



1,599.20
                                                                                          [3] Sells   100 contracts total (28 while buy orders active)
                                      V (43)
1,599.00
                               V 10
                           V 10
1,598.80


                                                                                                                V 2x10                                                                                V 10
1,598.60
                                                                                                                 V 10                                                                     V 10        V 10
                                                                                                                 V 10                                                                 V 10
1,598.40
                                                                                                                                                                                      V 10
                                                                                                                                                                                      V 10
1,598.20
                                                                                                                                                                                     V 10
                                                                                                                                                                                    V 10
1,598.00    [2] 18
                 orders to buy 180 total contracts ($28,771,200)                                                                                                                    V 10
            Orders are up to 71.0% of visible order book
            Active for 16.591 seconds on average (shortest canceled 1.540 seconds)                                                                                                 V 10
1,597.80
                                                          [4] Cancels   all 180 buy contracts                                                                                      V 10
                                                                                                                                                                                   V 10
1,597.60



1,597.40


           Buy Side: Vorley
1,597.20

                     08:04:10.0                      08:05:00.0                          08:05:50.0                        08:06:40.0                     08:07:30.0                 08:08:20.0

           ●    Places Order             Modifies Order         ●       Cancels Order           Buys Contract         Sells Contract    (Iceberg Order)                Mid−Price          Bid−Offer Spread
                                            Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 96 of 115 PageID #:4354                                                                              #51
                                                                                         July 13, 2012 − 31.700 secs − Gold
           Sell Side: Chanu
1,576.90
                                                                                                    [2] 30
                                                                                                         orders to sell 300 total contracts ($47,289,900)
                           C 2x10                                                                   Orders are up to 77.3% of visible order book
1,576.80                                                                                            Active for 4.105 seconds on average (shortest 0.690 seconds)
                                                                                                                              [4] Cancels   all 300 sell contracts
                                C 10
1,576.70


                                C 2x10
1,576.60


                                 C 2x10
1,576.50


                                  C 4x10
1,576.40


                                       C 6x10
1,576.30


                                          C 7x10
1,576.20


                                                  C 6x10
1,576.10



1,576.00



1,575.90



1,575.80
               C (50)
                                                                                   [3] Buys 14 contracts
                                  [1] (Iceberg)
                                       order to buy 50                             (all while sell orders active)
1,575.70
           Buy Side: Chanu contracts ($7,879,000)


                        03:13:50.0                    03:13:55.0                     03:14:00.0                     03:14:05.0                      03:14:10.0              03:14:15.0                 03:14:20.0

           ●     Places Order             Modifies Order      ●    Cancels Order              Buys Contract           Sells Contract        (Iceberg Order)          Mid−Price           Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 97 of 115 PageID #:4355                                                                            #51a
                                                                             July 13, 2012 − 1.790 mins − Gold
           Sell Side: Chanu
1,577.70
            C25/25


1,577.50



                                                                                                                                       [5] Buys
                                                                                                                                                                                                 C 35
                                                                                                                                                  35 contracts at higher
1,577.30
                                                                                                                                       price


1,577.10



1,576.90
                 C 2x10

                   C 10
1,576.70
                  C 2x10

                   C 2x10
1,576.50
                   C 4x10

                    C 6x10
1,576.30
                      C 7x10

                        C 6x10
1,576.10



1,575.90


               C (50)
1,575.70


           Buy Side: Chanu


                                 03:14:00.0                    03:14:20.0                      03:14:40.0                        03:15:00.0                             03:15:20.0                       03:15:40.0

           ●     Places Order           Modifies Order   ●   Cancels Order     Buys Contract                Sells Contract   (Iceberg Order)                Mid−Price                Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 98 of 115 PageID #:4356                                                                                    #52
                                                                                    August 29, 2012 − 1.000 mins − Gold
           Sell Side: Chanu
1,671.60

                                                                          [2] 17
                                                                               orders to sell 170 total contracts ($28,410,800)                                     C 2x10
1,671.50                                                                  Orders are up to 62.3% of visible order book
                                                                          Active for 3.713 seconds on average (shortest 1.135 seconds)
                                                                                                          [4] Cancels   all 170 sell contracts                       C 3x10
1,671.40


                                                                                                                                                                       C 2x10
1,671.30


                                                                                                                                                                        C 4x10
1,671.20


                                                                                                                                                                            C 2x10
1,671.10


                                                                                                                                                                            C 4x10
1,671.00



1,670.90


                                                       First sell order placed 775.598 seconds after buy order
1,670.80                                               After first sell order placed, 0.426 seconds until next buy order fill


1,670.70



1,670.60
           C(20/20)

1,670.50                              [1] (Iceberg)
                                                  order to buy 20 contracts ($3,341,200)
                                      placed at 01:48:25.850, with 20 contracts remaining
                                                                                                                                          [3] Buys   20 contracts (first 17 while sell orders active)
1,670.40
           Buy Side: Chanu


                              02:00:40.0                    02:00:50.0                    02:01:00.0                         02:01:10.0                        02:01:20.0                   02:01:30.0

           ●   Places Order                Modifies Order      ●   Cancels Order          Buys Contract             Sells Contract         (Iceberg Order)               Mid−Price              Bid−Offer Spread
                                        Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 99 of 115 PageID #:4357                                                      #52a
                                                                            August 29, 2012 − 13.160 mins − Gold
           Sell Side: Chanu
1,672.20



1,672.00



1,671.80



1,671.60
                                                                                                                                                                        C 2x10
                                                                                                                                                                        C 3x10
1,671.40
                                                                                                                                                                        C 2x10
                                                                                                                                                                        C 4x10
1,671.20
                                                                                                                                                                         C 2x10
                                                                                                                                                                         C 4x10
1,671.00



1,670.80



1,670.60
               C (20)

1,670.40       (Iceberg) order to buy 20 contracts ($3,341,200) placed at 01:48:25.850



1,670.20



           C(20/20)
1,670.00
           Buy Side: Chanu


                                 01:50:00.0                                 01:53:20.0                             01:56:40.0                       02:00:00.0

           ●     Places Order         Modifies Order    ●   Cancels Order         Buys Contract   Sells Contract      (Iceberg Order)   Mid−Price            Bid−Offer Spread
                                     Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 100 of 115 PageID #:4358                                                                                #53
                                                                              September 05, 2012 − 2.630 mins − Gold
           Sell Side: Chanu
1,694.70                                                                                                                    [3] Chanu
                                                                               C 42x10                                               186 orders to sell 1,860 total contracts ($315,029,300)
                                                                                                                            Orders are up to 87.2% of visible order book
                                                                                                                            Active for 7.871 seconds on average (shortest 1.030 seconds)
1,694.50



1,694.30
                                                                                                         C 20x10
                                                                                                                          [4] Chanu9 sell contracts filled
                                C 45x10
1,694.10                                                                                                                  Order canceled 1.547 seconds after last fill

                                                                                                                             [6] Chanu       cancels 99.5% of sell contracts (1,851 of 1,860)
1,693.90
                                                                                               C 11x10
                                                                                                                             C 22x10
1,693.70



1,693.50


                                                                                                                                               C 10x10
1,693.30
                                                                                                                                                            C 36x10

1,693.10
                                                                                                                                                                                                       C3
            V (100)                                                                                                                                                                        C6
1,692.90
                                    [2] Vorley   buys 45 contracts

                                                                                                                           [5] Vorleybuys remaining 55
1,692.70
                                                                                                                           contracts while sell orders active
                   [1] Vorley
                            (iceberg) order to buy
                   100 contracts ($16,930,000)                                                                                                          [7] Chanu buys 9 contracts after 9 sell
1,692.50                                                                                                                                                contracts filled
           Buy Side: Chanu and Vorley


                                                     03:09:10.0                                           03:10:00.0                                                   03:10:50.0

           ●   Places Order         Modifies Order        ●   Cancels Order        Buys Contract         Sells Contract    (Iceberg Order)                 Mid−Price                Bid−Offer Spread
                                           Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 101 of 115 PageID #:4359                                                                             #54
                                                                                    September 14, 2012 − 12.560 mins − Gold
           Sell Side: Chanu
1,775.70


1,775.50

                                                                                                                                     [3] 22
                                                                                                                                          orders to sell 220 total contracts ($39,029,600)
1,775.30
                                                                                                                                     Orders are up to 72.1% of visible order book
                                                                                                                                     Active for 3.470 seconds on average (shortest 0.845 seconds)
1,775.10
                                                                                                                                                                         [5] Cancels   all 220 sell contracts

1,774.90


1,774.70


1,774.50

                                                                                                                                                                                                    C 22x10
1,774.30


1,774.10


1,773.90


1,773.70


               C (20)
1,773.50                              [2] Buys   15 contracts

                [1] (Iceberg)   order to buy 20 contracts ($3,547,200)
1,773.30                                                                                                                                 [4] Buys   final 5 contracts while sell orders active


1,773.10


           Buy Side: Chanu
1,772.90

                     02:43:20.0                                          02:46:40.0                              02:50:00.0                                         02:53:20.0

           ●     Places Order             Modifies Order        ●   Cancels Order         Buys Contract   Sells Contract      (Iceberg Order)                Mid−Price                  Bid−Offer Spread
                                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 102 of 115 PageID #:4360                                                                                         #54a
                                                                                          September 14, 2012 − 3.270 mins − Gold
              Sell Side: Chanu
1,775.70

                   [1] (Iceberg)    order to sell 35 contracts ($6,211,100)
1,775.50

                                                                                                                   [4] Sells
                                                                                                                          7 contracts while
1,775.30
                                                                                                                   buy orders active

1,775.10


1,774.90
                                                                                                                                                                                      [8] Sells
                                                                                                                                                                                              final 9 contracts while buy
                                                                     [2] Sells   15 contracts
                                                                                                                                                                                      orders active
1,774.70
                   C (35)

1,774.50
                                                                                                                                                                     [6] Sells   4 contracts at lower price
1,774.30


1,774.10
                                                                                                                                                                                                              C (9)
                                                                                                                                                                                                       C (13)
1,773.90
                                              [3] 26
                                                   orders to buy 260 total contracts ($46,125,800)
                                              Orders are up to 71.8% of visible order book
1,773.70                                      Active for 4.358 seconds on average (shortest 0.783 seconds)
                                                                                                                                     C 26x10
                                                                      [5] Cancels   all 260 buy contracts
1,773.50


                                                                                                                                    [7] 16
                                                                                                                                         orders to buy 160 total contracts ($28,371,800)
1,773.30
                                                                                                                                    Orders are up to 65.8% of visible order book
                                                                                                                                    Active for 6.713 seconds on average (shortest 4.991 seconds)
1,773.10
                                                                                                                                                                    [9] Cancels   all 160 buy contracts        C 16x10
              Buy Side: Chanu
1,772.90

           02:59:10.0                                            03:00:00.0                                        03:00:50.0                                       03:01:40.0                                        03:02:30.0

               ●     Places Order               Modifies Order        ●   Cancels Order            Buys Contract                Sells Contract    (Iceberg Order)                 Mid−Price               Bid−Offer Spread
                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 103 of 115 PageID #:4361                                                                    #54b
                                                                      September 14, 2012 − 21.730 mins − Gold
           Sell Side: Chanu
1,775.70


1,775.50


1,775.30


1,775.10


1,774.90


1,774.70
                                                                                                                                          C (35)

1,774.50

                                                                                                              C 4x10
1,774.30

                                                                                                             C 18x10
1,774.10
                                                                                                                                                                 C (9)
                                                                                                                                                                 C (13)
1,773.90


1,773.70
                                                                                                                                                       C 26x10
               C (20)
1,773.50


1,773.30


1,773.10
                                                                                                                                                                 C 16x10
           Buy Side: Chanu
1,772.90

                 02:43:20.0          02:46:40.0                 02:50:00.0                   02:53:20.0                02:56:40.0            03:00:00.0                  03:03:20.0

           ●     Places Order   Modifies Order    ●   Cancels Order          Buys Contract            Sells Contract    (Iceberg Order)        Mid−Price             Bid−Offer Spread
                                         Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 104 of 115 PageID #:4362                                                                           #55
                                                                                  October 04, 2012 − 3.610 mins − Silver
           Sell Side: Chanu
35.130




35.125




35.120


                                                                            [3] Sells30 contracts total
                                                                            (first contract while buy order active)
35.115          [1] (Iceberg)
                            order to sell 30
                contracts ($5,266,500)


                C (30)
35.110




35.105




35.100

                                                                                                                       Buy order placed 13.206 seconds after sell order
                                            [2] Order
                                                                                                                       First sell order fill 0.473 seconds after buy order placed
                                                     to buy 100 contracts ($17,547,500)
35.095                                      Order is 71.9% of visible order book
                            C 100           Active for 1.167 seconds
                                                           [4] Cancels   all 100 buy contracts


35.090
           Buy Side: Chanu


         20:50:00.0                                 20:50:50.0                                   20:51:40.0                             20:52:30.0                             20:53:20.0

            ●     Places Order          Modifies Order      ●    Cancels Order           Buys Contract         Sells Contract      (Iceberg Order)            Mid−Price             Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 105 of 115 PageID #:4363                                                                                         #56
                                                                               October 05, 2012 − 2.580 mins − Gold
           Sell Side: Chanu
1,795.40    [1] (Iceberg)
                        order to sell 100 contracts ($17,952,000)
                                                                                    [4] Sells   82 contracts                                                                 [6] Sells
            Placed at 00:54:30.079                                                                                                                                                  12 contracts (8
                                                      C (80)                                                                                                                 while buy orders active)
1,795.30

                                                            C (46)                                                                                            C (18)
           C(100/100)                                   C (80)                                                                                            C (25)
1,795.20


                                                             C (80)                                                                                  C (45) C (25)                                             C (6)
1,795.10
                                                                                                                                                                        [8] Sells
                                                                                                                                                                               final 6 contracts at
                                                                                                                                                                        lower price
1,795.00
                                   C 2x10                                                                                                                                                        C 2x10

1,794.90
                                  C 3x10                                                                                                                                                        C 2x10

1,794.80
                                  C 3x10                                                                                                                                                          C 10

1,794.70
                                 C 2x10                                                                                                                                                        C 2x10
                                                                                                           [5] 11
                                                                                                                orders to buy 110 total contracts ($19,742,100)
1,794.60                                                                                                   Orders are up to 48.2% of visible order book
                    [2] 10
                                                                                                           Active for 3.244 seconds on average (shortest 1.208 seconds)                        C 2x10
                         orders to buy 100 total contracts ($17,948,500)
                    Orders are up to 48.5% of visible order book                                                                [7] Cancels   all 110 buy contracts
1,794.50            Active for 2.703 seconds on average (shortest 1.032 seconds)
                                                                                                                                                                                                C 10
                               [3] Cancels   all 100 buy contracts

1,794.40
                                                                                                                                                                                                C 10

1,794.30
           Buy Side: Chanu


                                                             01:20:50.0                                                     01:21:40.0                                                    01:22:30.0

           ●   Places Order          Modifies Order      ●     Cancels Order       Buys Contract               Sells Contract          (Iceberg Order)                Mid−Price             Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 106 of 115 PageID #:4364                                                              #56a
                                                                                  October 05, 2012 − 4.040 mins − Gold
              Sell Side: Chanu
1,795.60



1,795.50



1,795.40

                                            C (80)
1,795.30
                                                 C (46)                                                    C (18)
              C(100/100)                      C (80)                                                    C (25)
1,795.20

                                                C (80)                                          C (45)C (25)                                C (6)
1,795.10



1,795.00
                                   C 2x10                                                                                            C 2x10

1,794.90
                                   C 3x10                                                                                            C 2x10

1,794.80
                                   C 3x10                                                                                             C 10

1,794.70
                                   C 2x10                                                                                            C 2x10

1,794.60
                                                                                                                                     C 2x10

1,794.50
                                                                                                                                     C 10

1,794.40
                                                                                                                                     C 10

1,794.30
              Buy Side: Chanu


           01:20:00.0                            01:20:50.0                        01:21:40.0                                 01:22:30.0                      01:23:20.0                 01:24:10.0

               ●    Places Order            Modifies Order    ●   Cancels Order         Buys Contract               Sells Contract          (Iceberg Order)    Mid−Price   Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 107 of 115 PageID #:4365                                                                            #57
                                                                                   October 25, 2012 − 4.070 mins − Silver
             Sell Side: Chanu
                                                                                                  [2] Orderto sell 100 contracts ($16,020,000)
32.050
                                                                                                  Order is 51.8% of visible order book
                                                                                                  Active for 1.454 seconds
                                                                                                                  [4] Cancels      all 100 sell contracts
32.045



                                                                                                                           C 100
32.040


                                                                                                                             Sell order placed 141.897 seconds after buy order
                                                                                                                             First buy order fill 0.068 seconds after sell order placed
32.035




32.030




32.025




32.020




32.015
                  C (20)


                                                                                                                   [3] Buys      20 contracts total (first 8 while sell order active)
32.010
                  [1] (Iceberg)    order to buy 20 contracts ($3,201,500)



32.005
             Buy Side: Chanu


         10:45:00.0                              10:45:50.0                        10:46:40.0                            10:47:30.0                              10:48:20.0                           10:49:10.0

              ●     Places Order             Modifies Order    ●   Cancels Order         Buys Contract          Sells Contract          (Iceberg Order)             Mid−Price             Bid−Offer Spread
                                      Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 108 of 115 PageID #:4366                                                                                #58
                                                                              January 28, 2013 − 32.140 secs − Gold
           Sell Side: Vorley
1,655.80                                                                                                                                                               [4] Cancels   all 110 sell contracts

                                                                                                         [2] Orderto sell 110 contracts ($18,212,700)
                                                                                                         Order is 42.0% of visible order book                                    V 110
1,655.70                                                                                                 Active for 2.920 seconds



1,655.60




1,655.50




1,655.40




1,655.30




1,655.20
               V (34)


1,655.10


                [1] (Iceberg)                                                                                        [3] Buys   all 34 contracts while sell order active
                           order to buy 34 contracts ($5,627,680)
1,655.00        Display quantity is 1 contract

                                                                                                                                    After sell order placed, 1.297 seconds until next buy order fill
                                                                                                                                    Sell order canceled 1.619 seconds after last buy order fill
1,654.90
           Buy Side: Vorley


                        10:32:45.0               10:32:50.0                   10:32:55.0             10:33:00.0                        10:33:05.0                10:33:10.0                       10:33:15.0

           ●     Places Order        Modifies Order      ●    Cancels Order          Buys Contract      Sells Contract          (Iceberg Order)            Mid−Price                  Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 109 of 115 PageID #:4367                                                                  #58a
                                                                                     January 28, 2013 − 1.090 mins − Gold
           Sell Side: Vorley
1,655.80



                                                                                                                                                                                  V 110
1,655.70




1,655.60




1,655.50




1,655.40




1,655.30
               V 50
                                                [2] Buys   16 contracts

1,655.20
                                  V 34                                                                     V (34)


1,655.10
                                    V 34


1,655.00
                                              V 34
               [1] Order   to buy 50 contracts ($8,276,500)
1,654.90
           Buy Side: Vorley


            10:32:10.0                   10:32:20.0                     10:32:30.0                10:32:40.0                    10:32:50.0              10:33:00.0        10:33:10.0

           ●    Places Order             Modifies Order        ●   Cancels Order         Buys Contract         Sells Contract         (Iceberg Order)         Mid−Price     Bid−Offer Spread
                                          Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 110 of 115 PageID #:4368                                                                      #59
                                                                               June 02, 2013 − 40.000 secs − Gold
           Sell Side: Chanu
1,395.70                                                                                                                                      [3] Sells   3 contracts while buy order active
                         [1] (Iceberg)
                                     order to sell 50 contracts ($6,978,000)
                         placed at 19:52:13.056
                         Display quantity is 1 contract
           C(50/50)
1,395.60


                                                                                                      Buy order placed 202.614 seconds after sell order
                                                                                                      First sell order fill 0.003 seconds after buy order placed

1,395.50




1,395.40




1,395.30
                                                                                                                                                                          C 100



                                                                                                                                              [2] Orderto buy 100 contracts ($13,953,000)
1,395.20
                                                                                                                                              Order is 62.1% of visible order book
                                                                                                                                              Active for 1.054 seconds
                                                                                                                                                [4] Cancels     all 100 buy contracts

1,395.10




1,395.00
           Buy Side: Chanu


            19:55:00.0                                    19:55:10.0                              19:55:20.0                                 19:55:30.0                                       19:55:40.0

           ●   Places Order              Modifies Order    ●   Cancels Order      Buys Contract          Sells Contract    (Iceberg Order)                Mid−Price             Bid−Offer Spread
                                             Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 111 of 115 PageID #:4369                                                                                       #59a
                                                                                         June 02, 2013 − 5.540 mins − Gold
           Sell Side: Chanu
1,396.30

               C (50)
1,396.20


1,396.10


1,396.00

                                     [1]
                                       (Iceberg) order to sell 50 contracts ($6,978,000)
1,395.90
                                     Display quantity is 1 contract

1,395.80
                                                                                                                                                                                       [3] Order quantity modified
           C(50/50)                                                                                                                                  [2] Sells   14 contracts          to sell 36 contracts
1,395.70

               C (50)
1,395.60

                                                                                                                                                                                                                   C (36)
1,395.50


1,395.40


1,395.30
                                                                                                                                       C 100

1,395.20

                                                                                                                                                                                        [4] Sells
                                                                                                                                                                                                final 36 contracts
1,395.10
                                                                                                                                                                                        at lower price

1,395.00


1,394.90
           Buy Side: Chanu


                        19:52:30.0                    19:53:20.0                   19:54:10.0                   19:55:00.0                 19:55:50.0                     19:56:40.0                    19:57:30.0

           ●     Places Order               Modifies Order     ●   Cancels Order                Buys Contract         Sells Contract      (Iceberg Order)                 Mid−Price                 Bid−Offer Spread
                                              Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 112 of 115 PageID #:4370                                                                         #60
                                                                                      July 09, 2013 − 5.690 secs − Gold
           Sell Side: Vorley
1,247.10              [1] (Iceberg)
                                 order to sell 50 contracts ($6,235,000)
                      Display quantity is 1 contract


                                                                                                                                                       [4] Sells   8 contracts while buy order active
                           [2] Sells   10 contracts



               V (50)
1,247.00




1,246.90



                                                                                                                Buy order placed 4.955 seconds after sell order
                                                                                                                After buy order placed, 0.002 seconds until next sell order fill




1,246.80
                                                                                                                                                                           V 100



                                                                                                                                                 [3] Orderto buy 100 contracts ($12,468,000)
                                                                                                                                                 Order is 48.5% of visible order book
                                                                                                                                                 Active for 0.736 seconds
                                                                                                                                                                    [5] Cancels   all 100 buy contracts
1,246.70
           Buy Side: Vorley


                         11:52:00.0                           11:52:01.0                11:52:02.0                11:52:03.0                        11:52:04.0                          11:52:05.0

           ●     Places Order                Modifies Order       ●   Cancels Order     Buys Contract   Sells Contract         (Iceberg Order)               Mid−Price                 Bid−Offer Spread
                                Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 113 of 115 PageID #:4371                                                                    #60a
                                                                     July 09, 2013 − 2.820 mins − Gold
           Sell Side: Vorley
1,247.40




1,247.30




1,247.20




1,247.10
                                                                                                                                                        [6] Sells   12 contracts

               V (50)                                 V 2x12
1,247.00




1,246.90




1,246.80
                   V 100


1,246.70




1,246.60




1,246.50




1,246.40
           Buy Side: Vorley


                                    11:52:30.0                                         11:53:20.0                                      11:54:10.0

           ●    Places Order   Modifies Order    ●   Cancels Order     Buys Contract                Sells Contract   (Iceberg Order)        Mid−Price               Bid−Offer Spread
                                                 Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 114 of 115 PageID #:4372                                                                          #61
                                                                                              January 29, 2009 − 2.210 mins − Gold
                                                                                                                                                                                      Chat: Government Exhibit 141
           Sell Side: Ong
  881.40




  881.30




  881.20


            [1]
              Order to sell 20
            contracts ($1,762,000)                                                                                                                                           [5] Sells
                                                                                                                                                                                    remaining
  881.10
                                                                                                                                                                             14 contracts
                                  [2] Sells   6 contracts
                  O 20
  881.00




  880.90




  880.80
                                                                                                                                                                 C 200                C 101


  880.70
                                                                                     C 101        C 200


  880.60                                                                                                                   [3] 4
O (20)                                                                                                                         orders to buy 602 total contracts ($53,021,150)
                                                                                                                           Active for 1.078 seconds on average (shortest 0.717 seconds)


  880.50
           Buy Side: Chanu


                      03:29:00.0                         03:29:20.0                       03:29:40.0                   03:30:00.0               03:30:20.0               03:30:40.0                   03:31:00.0

           ●       Places Order                 Modifies Order        ●   Cancels Order                Buys Contract         Sells Contract   (Iceberg Order)          Mid−Price               Bid−Offer Spread
                                     Case: 1:18-cr-00035 Document #: 304-1 Filed: 09/04/20 Page 115 of 115 PageID #:4373                                                                          #61a
                                                                                  January 29, 2009 − 2.210 mins − Gold
                                                                                                                                                                           Chat: Government Exhibit 141
           Sell Side: Ong
  881.40




  881.30




  881.20



                                                                                                               03:30:22 Ong: you flashing bids to help me get done?
  881.10                                                                                                       03:30:23 Ong: hahaha
            03:28:17 Ong: going to sell 2k here

                                                                                                                                                           03:30:33 Ong: nice
               O 20
  881.00




  880.90




  880.80
                                                                                                                                                    C 200                  C 101

                                                                                                                                  03:30:29 Chanu: yep      03:31:04 Chanu: just to trigger algorythm
  880.70
                                                                         C 101        C 200
                                                                 03:29:33 Chanu: yep

  880.60
O (20)


  880.50
           Buy Side: Chanu

                                                                03:29:33                                                               03:30:22 03:30:29                                         03:31:04
                   03:29:00.0                03:29:20.0                       03:29:40.0                   03:30:00.0               03:30:20.0                03:30:40.0                   03:31:00.0

           ●    Places Order        Modifies Order        ●   Cancels Order                Buys Contract         Sells Contract   (Iceberg Order)           Mid−Price               Bid−Offer Spread
